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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                           )
                                         )    3:17-CV-02026-JBA
     Plaintiff/Counterclaim Defendant,   )
                                         )    Judge Janet Bond Arterton
     v.                                  )
                                         )
HENRY KURZ,                              )
                                         )
     Defendant/Counterclaimant.          )

                                         )
HENRY KURZ,                              )
                                         )
     Third-Party Plaintiff,              )
                                         )
     v.                                  )
                                         )
DANIEL NAUS, NIZWER HUSAIN, and          )
DUNG NGUYEN,                             )
                                         )
     Third-Party Defendants.             )



             REPLY MEMORANDUM IN FURTHER SUPPORT OF
          MOTION TO DISMISS AMENDED THIRD-PARTY COMPLAINT
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        Messrs. Daniel Naus, Nizwer Husain, and Dung Nguyen (“Defendants” or “Third Party

Defendants”) respectfully submit this Reply Memorandum in further support of their Motion to

Dismiss (“Defs.’ Mot.”) [Dkt. 47] the ATPC (“ATPC”) (Am. [Dkt. 45] filed by Henry Kurz

(“Kurz”).

I. INTRODUCTION
        After reciting nearly every allegation in his ATPC, Kurz fails to address or even

acknowledge the majority of Defendants’ substantive arguments demonstrating that those

allegations do not give rise to viable claims for breach of fiduciary duty or tortious interference.

Kurz cannot escape his own self-defeating allegations with regard to Counts I, II, and III, which

conclusively establish that he lacks standing to pursue any of his claims for breach of fiduciary

duty, whether directly or derivatively on behalf of ConfigAir LLC (“ConfigAir” or the

“Company”). Moreover, Kurz does not dispute that he fails to state a claim for breach of

fiduciary duty based on “the loss of his sole and full authority for decision-making” with respect

to the development of ConfigAir’s Software (Count II) or based on his inability to access “the

Company’s Google account” (Count III). Furthermore, the Court can and should consider the

terms of the Company’s Operating Agreement and apply the business judgment rule, both of

which insulate the Defendants from liability in connection with the alleged management

decisions Kurz complains of in Counts II and III. Finally, Kurz cannot rescue his claim for

tortious interference in Count IV by relying on “facts” that are not alleged in the ATPC.

Accordingly, Defendants respectfully request that the Court dismiss the ATPC, with prejudice, in

its entirety.

II. LEGAL ARGUMENT
        Following an exhaustive and unnecessary recitation of the facts alleged in his ATPC,

Kurz begins the argument on page 13 of his Opposition by misstating the legal standard

applicable to Defs.’ Mot.. (See Memorandum of Law in Opposition to Motion to Dismiss Third-

Party Complaint (“Opp.”) [Dkt. 51] p. 13). First, Kurz completely ignores the standard
                                          1
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applicable to Defendants’ arguments under Federal Rule of Civil Procedure 12(b)(1) to dismiss

Counts I, II, and III for lack of standing. Unlike a motion to dismiss for failure to state a claim, a

motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) challenges the court’s statutory or

constitutional authority to adjudicate the matter before it. Schumann v. Schumann, No. 3:11-cv-

888 (WWE), 2012 WL 2016192, at *1 (D. Conn. June 5, 2012). “Once the question of

jurisdiction is raised, the burden of establishing subject matter jurisdiction rests on the party

asserting such jurisdiction.” Id.; accord Halo Tech Holdings, Inc. v. Cooper, No. 3:07-cv-489

(AHN), 2008 WL 4080081 (D. Conn. Aug. 27, 2008) (party seeking relief has the burden of

demonstrating that it is the proper party to invoke judicial resolution of the dispute).

       Second, with regard to Defendants’ separate arguments for dismissal under Fed. R. Civ.

P. 12(b)(6), Kurz recites the 1950’s, outdated standard, originally set forth in Conley v. Gibson,

355 U.S. 41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957) (“a complaint should not be dismissed for

failure to state a claim unless it appears beyond doubt that the plaintiff can prove no set of facts

in support of his claim which would entitle him to relief”). (Opp. pp. 13-14). However, this

standard was abrogated by the Supreme Court more than a decade ago in Bell Atlantic Corp. v.

Twombly. See 550 U.S. 544, 127 S. Ct. 1955, 1961, 167 L. Ed. 2d 929 (2007), syllabus (“The ‘no

set of facts’ language has been questioned, criticized, and explained away long enough by courts

and commentators, and is best forgotten as an incomplete, negative gloss on an accepted

pleading standard.”). Under current applicable law, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim for relief that is plausible on its face’” in order to

survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Ashcroft v. Iqbal, 556 U.S. 662,

678, 129 S. Ct. 1937 (2009) (quoting Twombly, 550 U.S. at 570). A claim for relief is facially

plausible only if “the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

Conclusory allegations are insufficient to survive a motion to dismiss. Id. 678-79. Applying the

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appropriate standards, the Court should dismiss the ATPC, in its entirety, pursuant to Federal

Rule of Civil Procedure 12(b)(1) and (6).

   A. Kurz Lacks Standing to Maintain a Claim for Breach of Fiduciary.
       The Court should dismiss Count I of the ATPC pursuant to Federal Rule of Civil

Procedure 12(b)(1). Kurz has failed to establish that he has standing to assert a direct claim or a

derivative claim for breach of fiduciary duty based on the alleged transfer of Company assets.

           1. Kurz does not dispute that he lacks standing to pursue a direct claim.
       The Defendants move to dismiss Count I of the ATPC on the ground that Kurz lacks

standing to maintain a claim for breach of fiduciary duty in his individual capacity based on the

alleged transfer of Company assets that resulted in harm to the Company as a whole. (Mot. pp. 7-

10). In his Opposition, Kurz does not address this argument, but rather, lumps together his three

claims for breach of fiduciary duty and concludes (but does not plead) that “he has suffered

actual injuries, separate and distinct from any injury suffered by ConfigAir.” (Opp. p. 18).

However, none of the allegations that Kurz references in support of his argument relate in any

way to the alleged transfer of Company assets at issue in Count I. Nor does Kurz attempt to

distinguish or even acknowledge the case law cited by Defendants. By declining to address

Defendants’ argument, Kurz concedes that he has not alleged any facts demonstrating that he

sustained a direct injury, and as a result, he lacks standing to maintain a direct claim for breach

of fiduciary duty. As such, the Court should dismiss Count I with prejudice.

   B. Kurz cannot pursue a derivative claim on behalf of ConfigAir.
       Kurz concedes that he did not make a demand on the Company’s manager before filing

suit. Equally, Kurz cannot escape the stringent pleading requirements for derivative claims

under Connecticut law by asserting for the first time in his Opposition that the demand should be

excused as futile. In order to state a derivative claim on behalf of a limited liability company, a

pleading “must state with particularity: (1) The date and content of plaintiff’s demand and the

response by the managers or other members to the demand; or (2) why the demand should be

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excused as futile.” CONN. GEN. STAT. § 34-271c. Unable to argue that his pleading contains the

particulars of any pre-suit demand, Kurz claims that he “alleged that the demand should be

excused as futile.” (Opp. p. 17). The ATPC contains no such allegation. Kurz cannot cite to any

paragraph in his pleading – much less a separate allegation supporting each purportedly

derivative claim – in which he explains, with particularity, “why the demand should be excused

as futile” with respect to each derivative count. See CONN. GEN. STAT. § 34-271c. Instead, Kurz

argues that the allegations relating to his breach of fiduciary duty claims against the Third-Party

Defendants also explain and justify his failure to make a pre-suit demand on the Company’s

manager. That, though, is not what the Uniform Limited Liability Act requires. If allegations of

wrongdoing by management were sufficient to excuse a pre-suit demand, then the legislature

would not have adopted the unambiguous requirement that a member asserting a derivative claim

“state with particularity . . . why the demand should be excused as futile.” Id. Kurz cites no

authority for the proposition that a purported member of a limited liability company can satisfy

the pleading requirements for a derivative action without so much as a reference to any

contemplated demand on the company. Therefore, as more fully set forth in pages 10-11 of

Defs.’ Mot., the Court should dismiss Count I with prejudice because Kurz lacks standing to

maintain a derivative claim for breach of fiduciary duty.

   C. Kurz Lacks Standing and Fails to State a Claim for Breach of Fiduciary Duty.
       The Court should also dismiss Count II of the ATPC pursuant to Federal Rule of Civil

Procedure 12(b)(1) because Kurz does not have standing to assert a direct claim or a derivative

claim for breach of fiduciary duty based on the alleged mismanagement of the Company. Kurz

does not dispute that his claim is likewise subject to dismissal to the extent that it is based on

“the loss of his sole and full authority for decision-making” with respect to the development of

ConfigAir’s Software. Finally, the Court should also dismiss Count II under Federal Rule of




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Civil Procedure 12(b)(6) because the alleged conduct is authorized by ConfigAir’s Operating

Agreement and protected by the business judgment rule.

           1. Kurz lacks standing to pursue a direct claim.
       As more fully set forth in pages 12-14 of Defs.’ Mot., Kurz lacks standing to pursue a

claim for breach of fiduciary duty in his individual capacity based on management decisions with

which he did not agree and alleged harm suffered by the Company as a result. Kurz’s insistence

that “he was prevented and then prohibited from managing software development” falls far short

of establishing a unique and distinct injury suffered by Kurz alone. (Opp. p. 13). Furthermore,

Kurz makes no attempt to distinguish Moore v. F.A. Investment Holdings, in which this Court

held that a shareholder’s claim based on his own removal as a director belonged to the company,

and not to the shareholder in his individual capacity. No. 3:10-cv-891 (VLB), 2012 WL 711473,

at *11 (D. Conn. Mar. 5, 2012) (“The harm from having a less able and competent board of

directors is an injury that belongs to the Corporation in general and therefore [plaintiff] did not

suffer any unique or distinct injury as is necessary to bring a direct action.”). Nor does Kurz cite

any authority of his own to support his argument. Accordingly, the Court should dismiss Count

II with prejudice.

           2. Kurz concedes there is no viable claim for breach of fiduciary duty.
       Kurz declines to address Defendants’ argument that he cannot maintain a claim for

breach of fiduciary duty by asserting that he was deprived of a right unrelated to his status as a

member of the Company, thereby conceding that he fails to state a claim on that basis. As more

fully set forth in pages 14-15 of Defs.’ Mot., Kurz fails to allege that his self-proclaimed “sole

and full authority for decision-making” with respect to the development of ConfigAir’s Software

is related in any way to his status as a member. Kurz ignores Defendants’ legal authority for

dismissal on that basis and again makes no attempt to distinguish Moore, in which this Court

held that a plaintiff shareholder could not maintain a claim for breach of fiduciary duty based on


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the loss of a privilege that was separate from plaintiff’s rights as a shareholder. 2012 WL

711473, at *10-11.

            3. Kurz cannot pursue a derivative claim.
        As in Count I, Kurz cannot maintain a claim on behalf of the Company in Count II

because his pleading does not satisfy the statutory requirements for derivative actions. CONN.

GEN. STAT. § 34-271c. Given that Kurz did not make a pre-suit demand on the Company and that

he fails to allege with particularity why the requisite demand should be excused as futile, the

Court should dismiss Count II.

            4. The Operating Agreement and business judgment rule are controlling.
        In his Opposition, Kurz asks the Court to ignore the central contract governing the

parties’ relationship (Opp. p. 4) – a document that has been in the record since ConfigAir filed its

original Complaint on December 5, 2017 and the authenticity of which is not in dispute.1 As an

initial matter, it is important to note that the foregoing reasons justifying dismissal of Count II do

not require the Court to rely on the terms of the Operating Agreement. Nevertheless, the Court

can and should consider the Operating Agreement in light of the fact that Kurz’s allegations

regarding the governance of ConfigAir and his own role in the Company reference and

incorporate the terms of the Operating Agreement.2 Moreover, given that Kurz affirmatively

alleges that he signed a joinder to the Operating Agreement, (Countercl. ¶ 19), and admits that

the Operating Agreement attached to ConfigAir’s Second Amended Complaint “speaks for

itself” and “respectfully refers the Court to the document for a full statement of the terms

thereof,” (Answer ¶¶ 8, 13), his insistence that the Court should disregard the Operating

Agreement for purposes of this Motion is disingenuous. And, when taking into account the

unambiguous language of the Operating Agreement, it is clear that, among other things, Kurz did


1
  The Operating Agreement is also attached as Exhibit A to the Declaration of Rebecca Brazzano in support of
Defs.’ Mot. [Dkt. 47-4].
2
  For instance, Kurz alleges that when the Company was founded, “Kurz, Naus, Husain and Nguyen were the only
members of the Company and the only members of the board of directors, which functioned as the company’s
‘manager.’” (ATPC ¶ 18). This is a direct reference section 1(a) of the Operating Agreement.
                                                     6
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not have exclusive authority over the software development team and he was in a subordinate

position to Naus, ConfigAir’s President and CEO, who had the express authority to overrule

Kurz on decisions relating to the Company’s operations. In other words, the Operating

Agreement permits ConfigAir’s board to make the management decisions alleged in Kurz’s

ATPC, and they cannot serve as the basis for a claim for breach of fiduciary duty. Apart from

urging the Court to disregard the Operating Agreement, Kurz barely acknowledges Defendants’

argument that the conduct alleged in Count II is protected by the business judgment rule. Kurz

cites no authority to support his bare assertion that “in light of their self-dealing and bad faith,

none of the Defendants’ actions is [sic] protected by the business judgment rule.” (Opp. p. 19).

Although accepting the premise that Connecticut’s business judgment rule applies to claims for

breach of fiduciary duty in the management of limited liability companies, Kurz offers no

support for his argument that conclusory allegations of “self-dealing and bad faith” are sufficient

to remove Defendants’ allegedly poor management decisions from the purview of the business

judgment rule. As more fully set forth in pages 16-17 of Defs.’ Mot., the Court should dismiss

Count II with prejudice for failure to state a claim because the conduct alleged is permitted under

the Operating Agreement and protected by the business judgment rule.

   D. Kurz Lacks Standing and Fails to State a Claim for Breach of Fiduciary Duty.
       The Court should dismiss Count III of the ATPC pursuant to Federal Rule of Civil

Procedure 12(b)(1) because Kurz does not have standing to assert a direct claim or a derivative

claim for breach of fiduciary duty based on injuries allegedly suffered by the Company. Kurz

does not dispute that his claim is likewise subject to dismissal to the extent that it is based on his

inability to access “the Company’s Google account.” Finally, to the extent that Kurz’s claim is

based on the cessation of guaranteed monthly payments to the Company’s members, the Court

should also dismiss Count III because the alleged conduct is authorized by the Operating

Agreement and protected by the business judgment rule.


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           1. Kurz lacks standing to pursue a direct claim
       As more fully set forth in pages 18-19 of Defs.’ Mot., Kurz does not have standing to

pursue a claim for breach of fiduciary duty in his individual capacity based on injuries allegedly

suffered by the Company. In his Opposition, Kurz does not even attempt to articulate how

ConfigAir’s alleged lost profits and copyright liability relating to the use of its Software could

possibly constitute direct injuries suffered by Kurz alone. (See ATPC ¶¶ 146(c)-(e), 148-149).

Arguing that his allegations are sufficient to demonstrate a separate and distinct injury, Kurz

complains that the Third Party Defendants “remove[d] him as Vice President, Chief Technology

Officer, and a member of the board of directors.” (Opp. p. 18). However, his removal from those

positions is not alleged as the basis for any of the claims asserted in the operative ATPC. And, as

Defendants noted in their Motion, Kurz’s claim that the Company’s board “removed the

obligation to pay the members guaranteed payments, thus depriving him of any salary or share of

the profits in ConfigAir” (id.) does not represent an injury unique to Kurz because his own

allegations establish that the board “voted to cease the guaranteed payments to all initial

members of the Company.” (ATPC ¶ 101) (emphasis added). Finally, Kurz’s assertion that the

Defendants “refused to provide him access to the Company’s books and records” (Opp. p. 18)

does not give him standing to maintain a direct claim based on the “lost profits of the Company,”

“liability for copyright infringement,” or “loss of guaranteed payments” alleged in Count III.

(ATPC ¶¶ 148-150). And, as more fully set forth below, Kurz’s allegation that he is unable to

access “the Company’s Google account” fails to state a viable cause of action any event.

Accordingly, the Court should dismiss Count III with prejudice.

           2. Kurz cannot pursue a derivative claim.
       As in Counts I and II, Kurz cannot maintain a claim on behalf of the Company in Count

III because his pleading does not satisfy the statutory requirements for derivative actions under

Connecticut law. CONN. GEN. STAT. § 34-271c. Kurz neither alleges that he made a demand on

ConfigAir nor explains, with particularity, why it would have been futile to make such a demand.
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As a result, the Court should dismiss Count III to the extent it seeks to assert a derivative claim

for breach of fiduciary duty because Kurz does not have standing to pursue such a claim.

          3. Kurz does not dispute that he fails to state a claim for breach of fiduciary
duty based on his inability to access the Company’s Google account.
        Kurz also fails to address Defendants’ argument that his allegations regarding “the

Company’s Google account” are insufficient to state a claim for breach of fiduciary duty.

Instead, after arguing that the Court cannot consider the Operating Agreement in connection with

this Motion, Kurz attempts to rely on the Operating Agreement in defense of his baseless claim.3

(Opp. p. 19 fn. 2). The terms of the Operating Agreement, though, cannot rescue his claim for

breach of fiduciary duty. After all, he does not assert a claim for breach of the Operating

Agreement. Nor does he allege that he was denied access to the books and records of the

Company after providing “reasonable notice to the Manager” of his request. (Operating

Agreement, § 1(c)). As more fully set forth in pages 20-21 of Defs.’ Mot., Kurz fails to allege

any factual basis for his claim that Defendants breached their fiduciary duties by voting to

remove Kurz’s access to “the Company’s Google account,” and the Court should dismiss Count

III with prejudice for this reason as well.

         4. To the extent Kurz’s claim is based on the cessation of guaranteed monthly
payments to the Company’s members, the alleged conduct is authorized by the Operating
Agreement and protected by the business judgment rule.
        Just like Defendants’ argument that Kurz fails to state a claim for breach of fiduciary

duty in Count II based on decisions made by the Company’s management, Kurz declines to

substantively address Defendants’ argument that the cessation of guaranteed monthly payments

is expressly authorized by the Operating Agreement and protected by the business judgment rule.

Kurz’s argument that the Court should disregard the Operating Agreement is without merit and

he cites no legal authority to support his claim that “none of the Defendants’ actions is [sic]

protected by the business judgment rule.” (Opp. p. 19). As more fully set forth in pages 21-22 of

3
  Kurz should not be permitted to have it both ways and use the Operating Agreement as both a sword and a shield
in his efforts to avoid dismissal of the Amended Third-Party Complaint.
                                                       9
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the Defs.’ Mot., the Operating Agreement expressly permits the cessation of guaranteed

payments and such a decision falls squarely within the business judgment rule. As such, the

Court should dismiss Count III with prejudice for failure to state a claim upon which relief can

be granted to the extent that it is based upon the allegation that the board of directors voted to

cease guaranteed monthly payments to the Company’s members.

   E. Kurz Fails to State a Claim for Tortious Interference (Count IV).
       Defendants move to dismiss Count IV on the ground that Kurz fails to allege any facts

demonstrating improper motive, improper means, or otherwise tortious conduct as required to

state a claim for tortious interference under Connecticut law. See Blake v. Levy, 191 Conn. 257,

262, 464 A.2d 52 (Conn. 1983). In his pleading, Kurz alleges that “the Company has sent

communications to Kurz’s customers that, if they work with Kurz, ConfigAir may take legal

action against them,” (ATPC ¶ 118); that the Company “knew these were Kurz’s customers

when it sent the communications,” (id. ¶ 119); and that “the recipients of the communications

have refused to do business with Kurz.” (Id. ¶ 120). Implicitly recognizing that these allegations

alone are insufficient to state a claim for tortious interference, Kurz now asserts for the first time

that Defendants “misrepresented the scope of the alleged non-compete, non-solicitation, and

non-disclosure obligations and intimidated Kurz’s customers.” (Opp. p. 19). Kurz, though,

cannot revive his claim for tortious interference with the brand new allegation that the

Company’s communications regarding its former executive “do not describe the limited scope of

any alleged obligations.” (Id.). The ATPC is devoid of any allegation that Kurz’s non-

competition, non-solicitation, and non-disclosure agreements were limited in scope, much less

that the Company misrepresented the scope of those agreements in its alleged communications.

Accordingly, as more fully set forth in pages 22-24 of Defs.’ Mot., the Court should dismiss

Count IV for failure to state a claim upon which relief can be granted.




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III.CONCLUSION
       For the foregoing reasons, Third-Party Defendants Daniel Naus, Nizwer Husain, and

Dung Nguyen respectfully request that the Court dismiss, with prejudice, all claims asserted in

the ATPC.

Dated: November 28, 2018                        Respectfully submitted,

                                                /s/ Rebecca A. Brazzano
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Email: Tony.Hornbach@ThompsonHine.com




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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 28th day of November, 2018, a true copy of the foregoing

REPLY IN FURTHER SUPPORT OF MOTION TO DISMISS AMENDED THIRD-PARTY

COMPLAINT was filed electronically. Notice of this filing will be sent by e-mail to all parties

by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.


                                            /s/ Rebecca A. Brazzano
                                            Rebecca A. Brazzano




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                                                                      For the following reasons, the motion to dismiss will be
     KeyCite Yellow Flag - Negative Treatment                         granted in part and denied in part. The motion to purchase
Distinguished by Sojitz America Capital Corp. v. Keystone Equipment
                                                                      shares will be granted because the Court will order that
Finance Corp., D.Conn., January 26, 2015
                                                                      defendant P–Q may exercise its statutory right to elect to
                  2012 WL 2016192
                                                                      purchase shares pursuant to Connecticut General Statutes
    Only the Westlaw citation is currently available.
                                                                      § 33–900.
     United States District Court, D. Connecticut.

             David D. SCHUMANN, Keith W.
      Schumann, and Heidi Schumann, Plaintiffs,                                            BACKGROUND
                        v.
           Douglas D. SCHUMANN and                                    Plaintiffs allege the following facts that are taken to be true
                                                                      for purposes of ruling on this motion.
            P–Q Controls, Defendants.

                    No. 3:11cv888 (WWE).                              Plaintiffs are minority shareholders of P–Q. Commencing
                               |                                      in January 2001, defendants Schuman and P–Q have
                         June 5, 2012.                                engaged in unauthorized and self-dealing transactions,
                                                                      including P–Q's payment of $32 million in salary to
Attorneys and Law Firms                                               defendant Schumann for his role as President; P–Q's
                                                                      payment of $3.5 million to defendant Schumann for loans
James E. Miller, Karen Leser Grenon, Laurie Rubinow,
                                                                      made by defendant Schumann to P–Q; P–Q's payment
Patrick A. Klingman, Shepherd, Finkelman, Miller &
                                                                      of $4.4 million to defendant Schumann for the lease
Shah, LLP, Chester, CT, Miranda P. Kolbe, Robert C.
                                                                      of property used as P–Q's headquarters; payment of
Schubert, Willem F. Jonckheer, Schubert, Jonckheer &
                                                                      approximately $3.5 million to Exec–Jet, Inc., an entity
Kolbe, LLP, San Francisco, CA, for Plaintiffs.
                                                                      wholly owned by defendant Schumann, for the lease of
Andrew M. Zeitlin, Shipman & Goodwin, Stamford, CT,                   airplanes; and a series of transactions between P–Q and
David A. Ball, Cohen & Wolf, P.C., Bridgeport, CT, for                P–Q Maine, Inc., an entity wholly owned by defendant
Defendants.                                                           Schumann.

                                                                      Between 2001 and 2008, no board meetings or shareholder
                                                                      meetings were held for approval of transactions as
            MEMORANDUM OF DECISION
                                                                      required by state law, Connecticut General Statutes §§ 33–
              ON PENDING MOTIONS
                                                                      783 and 33–784.
WARREN W. EGINTON, Senior District Judge.
                                                                      On May 7, 2009, defendant Schumann sent plaintiffs
 *1 In this action, plaintiffs David D. Schumann, Keith               notice of the annual meeting of shareholders to be held
W. Schumann and Heidi Schumann allege that defendant                  on May 22, 2009. He attached to the notice proposed
Douglas D. Schumann has abused his position as                        amendments to P–Q's bylaws. Such meeting had not been
President, Chairman of the Board of Directors (“Board”)               held in more than ten years.
and majority shareholder of P–Q Controls, Inc. (“P–Q”)
by engaging in unauthorized, self-dealing transactions                On May 22, defendant Schumann convened a meeting of
with defendant P–Q.                                                   P–Q's shareholders to adopt amended bylaws. Defendant
                                                                      Schumann, who was the only shareholder in attendance,
Plaintiffs allege claims of fraud and breach of                       voted to adopt the Amended Bylaws, which then
fiduciary duty against defendant Schumann, and request                permitted him to elect himself to serve as the single
appointment of a receiver and judicial dissolution of P–              Director.
Q pursuant to Connecticut General Statutes § 33–896.
Defendants have filed a motion to dismiss and a motion
to purchase shares.



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Plaintiffs have not received any distributions from P–Q          corporate officers at law on the basis of corporate
since the third quarter of 2008. Plaintiffs have not received    mismanagement that has rendered their stock of less
any financial statements from P–Q for either 2009 or 2010.       value. Yanow v. Teal Industries, Inc., 178 Conn. 262,
                                                                 281–82 (1979). The injury is generally not to the
                                                                 shareholder individually, but to the corporation and to
                                                                 the shareholders collectively who have the right to sue
                      DISCUSSION
                                                                 derivatively on behalf of the corporation alleged to be
A motion to dismiss under Federal Rule of Civil                  injured. May v. Coffey, 291 Conn. 106, 114 (2009). “[A]
Procedure12(b)(1) “challenges the court's statutory or           claim of injury, the basis of which is a wrong to the
constitutional power to adjudicate the case before it.”          corporation, must be brought in a derivative suit, with
2A James W. Moore et. al., Moore's Federal Practice,             the plaintiff proceeding secondarily, deriving his rights
¶ 12.07, at 12–49 (2d ed.1994). Once the question of             from the corporation which is alleged to have been
jurisdiction is raised, the burden of establishing subject       wronged.” Fink v. Golenbock, 238 Conn. 183, 200 (1996).
matter jurisdiction rests on the party asserting such            According to Connecticut statutory law, “[w]henever any
jurisdiction. See Thomson v. Gaskill, 315 U.S. 442, 446          corporation or any unincorporated association fails to
(1942).                                                          enforce a right which may properly be asserted by it,
                                                                 a derivative action may be brought by one or more
 *2 The function of a motion to dismiss under FRCP               shareholders or members to enforce the right, provided the
12(b)(6) is “merely to assess the legal feasibility of the       shareholder or member was a shareholder or member at
complaint, not to assay the weight of the evidence which         the time of the transaction of which he complained or his
might be offered in support thereof.” Ryder Energy               membership thereafter devolved on him by operation of
Distrib. v. Merrill Lynch Commodities, Inc., 748 F.2d 774,       law.” Conn. Gen.Stat. § 52–572j(a).
779 (2d Cir.1984). When deciding a motion to dismiss
for failure to state a claim, the Court must accept all          “[I]f the injury is one to the plaintiff as a stockholder,
well-pleaded allegations as true and draw all reasonable         and to him individually, and not to the corporation, as
inferences in favor of the pleader. Hishon v. King &             where an alleged fraud perpetrated by the corporation
Spalding, 467 U.S. 69, 73 (1984). The complaint must             has affected the plaintiff directly, the cause of action
contain the grounds upon which the claim rests through           is personal and individual.” Yanow, 178 Conn. at 282.
factual allegations sufficient “to raise a right to relief       In Yanow, the plaintiff had a separate and distinct
above the speculative level.” Bell Atl. Corp. v. Twombly,        injury because he had alleged that the corporate officer's
550 U.S. 544, 556 (2007).                                        fraudulent conduct had depressed the value of his stock
                                                                 shares so that the shares could be purchased for less than
                                                                 fair market value. Id. at 267 (“these causes of action are
Standing                                                         based upon alleged unlawful acts relating soley to the
Defendants assert that plaintiffs lack standing to bring         stock owned by the plaintiff....”). Nevertheless, even a sole
their claims directly rather than derivatively against           shareholder does not have standing to allege wrongs to the
defendants. Plaintiffs counter that they have been injured       corporation. Smith v. Snyder, 267 Conn. 456, 461 (2004).
as individuals separate from the corporation and therefore
have a direct cause of action.                                    *3 In this instance, plaintiffs have alleged that
                                                                 defendants' self-dealing and mismanagement has caused
To establish standing, plaintiffs must allege that (1) they      P–Q to underperform and earn substantially less income.
have suffered an injury in fact, (2) which is fairly traceable   Plaintiffs complain that they have not received any
to the challenged action of defendants, and (3) which is         distributions since 2008. However, in the counts of fraud
likely to be redressed by the requested relief. See Lujan v.     and breach of fiduciary duty, the harms asserted—
Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).              corporate fraud, looting and mismanagement—represent
                                                                 damage sustained by the corporation. Plaintiffs have not
                                                                 asserted any injuries that are separate and distinct from
Fraud and Breach of Fiduciary Duty                               that suffered by the corporation or where the remedy
The Connecticut Supreme Court has explained that,                should belong to the shareholders rather than to the
in most instances, individual stockholders cannot sue


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corporation. See Fink, 238 Conn. at 201. Accordingly, as       Defendants point out that the words “a shareholder”
to the first two counts, the Court will grant the motion to    is also used in Connecticut's statute devoted to the
dismiss for lack of standing but will permit plaintiffs to     standards for derivative action standing, Connecticut
amend the complaint.                                           General Statutes § 33–721. However, Section 33–896 is
                                                               silent as to the type of action that may be brought to
                                                               pursue a judicial dissolution.
Receivership and Dissolution
Plaintiffs maintain that the claim for receivership and        State superior courts have noted that the legislature
dissolution may be brought directly pursuant to the plain      sought to protect shareholders of closely held
language of Connecticut General Statutes § 33–896(a)(1),       corporations when it enacted Section 33–896. Johnson
which provides for dissolution by a superior court:            v. Gibbs Wire & Steel Co., Inc., 2010 WL
                                                               4276768 (Conn.Sup.Ct.2010). The stock of closely held
            In a proceeding by a shareholder
                                                               corporations is generally not readily salable and a
            if it is established that: (A)(i)
                                                               minority shareholder “at odds with management policies
            The directors are deadlocked in
                                                               may be without either a voice in protecting his or her
            the management of the corporate
                                                               interests or any reasonable means of withdrawing his or
            affairs, (ii) the shareholders are
                                                               her investment.” Matter of Kemp and Beatley, Inc., 64
            unable to break the deadlock,
                                                               N.Y.2d 63, 72–73 (1984).
            and (iii) irreparable injury to the
            corporation is threatened or being
                                                                *4 However, the Connecticut legislature has enacted
            suffered or the business and affairs
                                                               a statutory scheme that gives a voice to that minority
            of the corporation can no longer be
                                                               shareholder, who can file for appointment of receiver and
            conducted to the advantage of the
                                                               dissolution when faced with corporate mismanagement.
            shareholders generally, because of
                                                               After filing a petition for dissolution, the corporation
            the deadlock; (B) the directors or
                                                               may purchase for the fair market value the shares of the
            those in control of the corporation
                                                               “petitioning shareholder's shares, and if the corporation
            have acted, are acting or will act in
                                                               declines, the remaining shareholders may purchase such
            a manner that is illegal, oppressive
                                                               shares. Conn. Gen.Stat. § 33–900. Further, after a hearing
            or fraudulent; (C) the shareholders
                                                               upon the shareholder's petition for dissolution, the court
            are deadlocked in voting power
                                                               may appoint a custodian to manage the corporation
            and have failed, for a period that
                                                               or a receiver to wind-up and liquidate the corporation.
            includes at least two consecutive
                                                               Conn. Gen.Stat. § 33–898. Accordingly, Section 33–
            annual meeting dates, to elect
                                                               896 and the related statutes provide a remedy for a
            successors to directors whose terms
                                                               shareholder oppressed by corporate malfeasance. The
            have expired; or (D) the corporate
                                                               Court will allow plaintiffs to proceed with their direct
            assets are being misapplied or
                                                               action for appointment of receiver and dissolution against
            wasted.
                                                               defendants.
Plaintiffs argue that the reference to a proceeding by a
“shareholder” contemplates a direct rather than derivative
                                                               Motion to Purchase Shares
cause of action for dissolution and receivership. In
                                                               Defendant P–Q requests that the Court grant permission
construing a state statute, the court should “presume that
                                                               for it to buy out the plaintiffs' shares pursuant to
laws are enacted in view of existing relevant statutes.”
                                                               Connecticut General Statute § 33–900(b). Although P–Q
State v. John F.M., 285 Conn. 528, 546 (2008). The Court
                                                               seeks to file this election beyond the ninety days provided
should not consider extratextual evidence if the meaning
                                                               by Section 33–900, the statute provides that the Court
of the statute is plain and unambiguous after examination
                                                               may in its discretion allow such action at a later time.
of the text and its relationship to relevant statutes. Conn.
                                                               The Court finds that good cause exists for allowing
Gen.Stat. § 1–2z.
                                                               defendant to pursue a buy-out of the plaintiffs' shares. The
                                                               buyout will eliminate the need for a judicial dissolution
                                                               as sought by plaintiffs and therefore allow P–Q to remain


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in business. Further, the purchase of plaintiffs' shares will        Defendants' motion to purchase shares is GRANTED
                                                                     [doc. # 76], and the Court STAYS all proceedings related
allow for plaintiffs to receive their financial interest in P–
                                                                     to plaintiffs' motions for preliminary relief.
Q. The Court will also stay the proceedings related to
the plaintiffs' motions for preliminary relief so that a fair
                                                                     Consistent with this ruling, plaintiffs may replead counts
valuation of plaintiffs' shares may proceed.
                                                                     one and two within fifteen days of this ruling's filing
                                                                     date, and defendant P–Q should commence the process of
                                                                     electing to purchase plaintiffs' shares within ten days of
                      CONCLUSION                                     this ruling's filing date.

For the foregoing reasons, the motion to dismiss [doc. #
33] is GRANTED without prejudice as to the counts for                All Citations
fraud and breach of fiduciary duty, and is DENIED as to
count three for appointment of a receiver and dissolution.           Not Reported in F.Supp.2d, 2012 WL 2016192


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                2008 WL 4080081                                 FACTS AND PROCEDURAL BACKGROUND
   Only the Westlaw citation is currently available.
    United States District Court, D. Connecticut.           The court assumes the parties' familiarity with the facts
                                                            and procedural history of this case and only relates those
           HALO TECH HOLDINGS, INC.,                        facts necessary to address the arguments raised by the
                        v.                                  Primus defendants. In addition, because this is a motion
              Randall COOPER, et al.                        to dismiss, the court construes the facts and all reasonable
                                                            inferences therefrom in favor of the non-moving party,
              Civ. No. 3:07–CV–489(AHN).                    Halo.
                            |
                      Aug. 29, 2008.                        Halo acquires, manages, and sells software companies.
                                                            In 2006, Halo acquired all of the shares of Empagio,
Attorneys and Law Firms                                     Inc. Thereafter, Halo combined Empagio, Inc. with two
                                                            other companies it also had acquired, and formed a new
David M. Wallman, Wallman Law Firm, Stamford, CT,
                                                            company, also called Empagio, Inc. (“Empagio”). Halo
for Plaintiff.
                                                            became the sole shareholder of the new Empagio. In
Brenda M. Hamilton, George C. Springer, Jr., Patrick        addition, Halo tapped the management team of Empagio,
M. Birney, Thelen Reid Brown Raysman & Steiner LLP,         Inc., Randall Cooper (“Cooper”), Steven Payne, Steven
Hartford, CT, Michael Weinstock, Richard J. Capriola,       Garrett (“Garrett”), and Lynne Fraas (collectively “the
Weinstock & Scavo, P.C., Atlanta, GA, Frederick S.          Cooper Group”), to manage the new Empagio.
Gold, Laurie Ann Sullivan, Shipman & Goodwin,
Stamford, CT, Pearson N. Bownas, Jones Day, Cleveland,      In acquiring Empagio and the other two companies,
OH, for Defendants.                                         Halo incurred debt of approximately $20 million. As a
                                                            condition of the loan, Halo was required to make two
                                                            payments in the first quarter of 2007, totaling $1.5 million.
   RULING ON DEFENDANTS' MOTION TO                          If Halo defaulted on either payment, the entire $20 million
DISMISS THE SECOND AMENDED COMPLAINT                        debt would be accelerated and fees and penalties would be
                                                            imposed.
ALAN H. NEVAS, District Judge.
                                                            Shortly after forming Empagio in 2006, Halo considered
 *1 The plaintiff, Halo Tech Holdings, Inc. (“Halo”),       selling the company. Halo anticipated that the sale price
brings this action against an investment bank, venture      of the reconstituted company would cover the $20 million
capitalists, and the management team of its former          debt and also yield a substantial profit.
wholly-owned subsidiary, alleging that they conspired
to force Halo to sell its shares in the subsidiary at a     The Cooper Group did not want Empagio to be sold
discounted price. Now pending before the court is a         to a third party and instead wanted to purchase it for
motion to dismiss the second amended complaint by           themselves. To that end, they hired investment bankers,
the venture capitalists—Primus Venture Partners, Inc.,      Croft & Bender (“C & B”), and secured financing through
Primus Capital Fund V LP, LLC, Primus Venture               the Primus defendants.
Partners V, LLC, Jonathan E. Dick, Phillip C. Molner,
and Primus Venture Partners (collectively “the Primus       At some point, all the defendants—the Cooper Group,
defendants”). The Primus defendants claim that Halo         C & B, and the Primus defendants—conspired to force
lacks standing to bring the claims against them in the      Halo to sell Empagio for the cheapest price possible.
second amended complaint. For the reasons given below,      In furtherance of that conspiracy, some or all of the
the court agrees and grants the Primus defendants' motion   defendants chased away potential buyers by telling them
to dismiss.                                                 that Cooper had a right of first refusal to purchase
                                                            Empagio, that Cooper intended to exercise that right,
                                                            and that if Halo sold Empagio to anyone other than



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the Cooper Group, some of Empagio's clients would not            cash flow it received from Empagio, Halo defaulted on
renew their licensing agreements with the company.               the two payments required by its lender during the first
                                                                 quarter of 2007, and the lender accelerated the note
 *2 In January 2007, after the defendants had succeeded          and imposed penalties and fees. Ultimately, because of
in driving away other potential buyers, the Cooper Group         increasing financial pressure from its lender, Halo sold
sent Halo a “Letter of Intent,” outlining a proposed             Empagio for $16 million in May 2007 to another buyer.
agreement between the Cooper Group and Halo to                   Thereafter, Halo filed for bankruptcy.
purchase Empagio for up to $17 million, much less than
Halo's anticipated sales price. The letter provided for a six-   Halo then brought this action, claiming: (1) unfair trade
week period during which the defendants could conduct            practices, in violation of Conn. Gen.Stat. §§ 42–110a et
due diligence on Empagio and Halo had to refrained from          seq. (“CUTPA”) against Cooper, Garrett, and the Primus
negotiating with other buyers. The letter further indicated      defendants; (2) breach of fiduciary duty against Cooper
that the Primus defendants had agreed to finance most of         and Garrett; and (3) civil conspiracy against Cooper,
the Cooper Group's purchase of Empagio.                          Garrett, and the Primus defendants. 1

Because of the lack of interest from other buyers in             The Primus defendants now move to dismiss the second
purchasing Empagio, Halo agreed to the terms of the              amended complaint under Fed.R.Civ.P. 12(b)(1) for lack
Letter of Intent. Halo was not aware of the extent to which      of subject matter jurisdiction on the ground that Halo
the defendants had dissuaded other potential buyers.
                                                                 lacks standing to bring these claims against them. 2

Having induced Halo to enter into the Letter of Intent, the
defendants took other actions to drive down the purchase
price of Halo. In particular, because Halo derived all of                              STANDARD
its operating income from a “sweep” of excess cash from
its subsidiaries' bank accounts, including Empagio, the           *3 “[S]tanding imports justiciability: whether the
Primus defendants and the Cooper group jointly planned           plaintiff has made out a ‘case or controversy’ between
and instructed lower-level employees of Empagio to delay         himself and the defendant within the meaning of Art.
invoicing certain Empagio clients, including Burlington          III. This is the threshold question in every federal case,
Northern, and to change the payment terms of other               determining the power of the court to entertain the suit.”
clients, such as Northeast Utilities.                            Warth v. Seldin, 422 U.S. 490, 498, 95 S.Ct. 2197, 45
                                                                 L.Ed.2d 343 (1975). In particular, the court's subject-
The intended and actual effect of this conduct was               matter jurisdiction for lack of standing “can be called
twofold. First, because the defendants delayed Empagio's         into question either by challenging the sufficiency of
receipt of revenues, Halo received less cash from its            the allegation or by challenging the accuracy of the
“sweep” of Empagio's accounts. By reducing the cash              jurisdictional facts alleged.” Gwaltney of Smithfield, Ltd.
that Empagio could sweep from its account to Halo,               v. Chesapeake Bay Found., Inc., 484 U.S. 49, 68, 108
the defendants intended to make it difficult for Halo            S.Ct. 376, 98 L.Ed.2d 306 (1987) (Scalia, J., concurring in
to pay its lender so that Halo would be more inclined            part and concurring in the judgment) (emphasis omitted).
to accept an undervalued offer for Empagio. Second,              If the defendant challenges only the legal sufficiency of
because the negotiated purchase price in the Letter of           the plaintiff's jurisdictional allegations, as the Primus
Intent included an upward adjustment for the value               defendants do here, “the court must take all facts alleged
of Empagio's accounts receivable, the defendants could           in the complaint as true and draw all reasonable inferences
reduce the purchase price of Empagio and divert the              in favor of plaintiff.” 3 Robinson v. Malaysia, 269 F.3d
deferred revenues to themselves.                                 133, 140 (2d Cir.2001) (internal citations and quotation
                                                                 marks omitted). Halo, as the one seeking relief, has the
At the end of the exclusivity period, the defendants offered     burden “to allege facts demonstrating that [it] is the
Halo $2.5 million less for Empagio than the amount               proper party to invoke judicial resolution of the dispute.”
stated in the Letter of Intent. Halo rejected that offer         Thompson v. Cty. of Franklin, 15 F.3d 245, 249 (2d
and sought other buyers. But as a result of the reduced          Cir.1994).



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                                                               to the [shareholder] and that he or she can prevail
                                                               without showing an injury to the corporation.” Tooley
                                                               v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031,
                      DISCUSSION
                                                               1039 (Del.2004). If a shareholder cannot demonstrate a
The Primus defendants argue that Halo has asserted             “separate and distinct” injury, then a shareholder does not
claims for injuries that are derivative of injuries suffered   have standing “to seek redress in a personal capacity for
by Empagio, and therefore, under well-known rules of           the wrong done to him individually.” Yanow, 179 Conn.
shareholder standing, Halo would have standing to bring        at 282, 426 A.2d 271.
a derivative action, that is, an action to recover damages
on behalf of Empagio, but does not have standing to            Here, Halo seeks damages caused by the defendants'
bring a direct action to recover on its own behalf. Because    conspiracy to self-deal and mismanage Empagio in order
Halo has brought this case as a direct action, the Primus      to drive down the purchase price of Empagio. Halo's
defendants contend that Halo's claims should be dismissed      claimed injuries include lost revenue from Empagio
for lack of standing. Halo, however, argues that it suffered   because of the defendants' interference with Empagio's
separate and distinct injuries apart from those suffered by    “business expectations” during the first quarter of 2007,
Empagio and that its direct injuries give rise to individual   “a loss of substantial opportunity to realize a profit in
standing. The court agrees with the Primus defendants          [Halo's] acquisition and subsequent sale of Empagio and
that Halo has not alleged a separate and distinct injury       its constituent companies,” fees and penalties charged by
giving rise to direct standing to recover for the wrongs       Halo's lender after Halo defaulted on its debt, and the
done to it individually.                                       “enterprise value” of Halo, which filed for bankruptcy
                                                               after it defaulted on its debt. (2d Am.Compl.¶¶ 48, 64, 66–
A shareholder has standing to bring a derivative action        67.)
against a third party to redress wrongs suffered by
the corporation. Smith v. Snyder, 267 Conn. 456, 461–          These injuries, however, all flow from the defendants'
462, 839 A.2d 589 (2004). Any recovery in a derivative         mismanagement of Empagio for their own benefit. For
action is returned to the corporation, for the benefit of      instance, when the defendants re-negotiated the payment
all shareholders. Id. Generally, however, an individual        terms with Empagio customers, Empagio received less
shareholder “cannot pursue a [direct] cause of action          revenue during the first quarter of 2007. With less revenue
[and recover individually] against third parties for wrongs    flowing into Empagio, there was less revenue to “sweep”
or injuries to a corporation in which he or she holds          to Halo. Thus, Halo's Empagio shares produced less
stock, even if the stockholder suffers a harm that             revenue than Halo anticipated. As a result, Halo could
flows from the injury to the corporation, such as a            not make the $1.5 million payments to its lender, and the
reduction in the value of his or her stock.” Peterson v.       lender accelerated the $20 million loan and imposed fees
Parillo, No. CV030477220S, 2005 WL 3663125, at *1              and penalties. Further, the defendants' mismanagement
(Conn.Super.Dec.8, 2005); accord Smith, 267 Conn. at           and self-dealing caused Halo to receive less revenue when
461–62, 839 A.2d 589 (“It is commonly understood that          it sold its shares of Empagio to a third party. This
‘[a] shareholder—even the sole shareholder—does not            ultimately caused Halo to file for bankruptcy.
have standing to assert [direct] claims alleging wrongs
to the corporation.’ ”) quoting Jones v. Niagara Frontier      In short, the defendants' interference with Empagio's
                                                               revenues set off a domino reaction—one injury causing
Trans. Auth., 836 F.2d 731, 736 (2d Cir.1987)). 4
                                                               another, and so on. But this does not mean that the
                                                               defendants' self-dealing and mismanagement vis-à-vis
 *4 In some instances, however, a shareholder may have
                                                               Empagio directly injured Halo or, put another way, that
standing to bring a direct action and recover individually,
                                                               Halo's injuries are separate and distinct from Empagio's
not on behalf of the corporation. In order to have standing
                                                               injuries. See Smith, 267 Conn. at 461–462, 839 A.2d 589.
for a direct action, a shareholder must “sustain[ ] a loss
                                                               Indeed, Halo could not prevail without also showing
separate and distinct from that of the corporation, or from
                                                               an injury to Empagio, a prerequisite to demonstrating
that of other shareholders....” Yanow v. Teal Indus., Inc.,
                                                               a direct injury. See Tooley, 845 A.2d at 1039. For
179 Conn. 262, 282 (1979). In other words, the shareholder
                                                               this reason, Halo's injuries are derivative of Empagio's
“must demonstrate that the duty breached was owed


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injuries, and as such, Halo would only have standing to       shareholder did not sustain an injury that was separate
bring a derivative action on behalf of Empagio. Halo's        and distinct from the injury sustained by the corporation.)
injuries do not confer standing to bring a direct action to
recover individually for harm that was indirectly caused      Halo's injuries are no different from the injuries suffered
by wrongs inflicted on Empagio, as it seeks to do here.       by the preferred shareholders in Ionosphere Clubs,
See, e.g., May v. Coffey, No. X10UWYCV065001410S,             Inc. Like those shareholders, Halo's claims are against
2007 WL 1121748, at *6 (Conn.Super.Mar.30, 2007)              third parties for self-dealing and the mismanagement
(“Generally, individual stockholders cannot sue the           of Empagio, which caused a decrease in Empagio's
officers at law for damages on the theory that they           revenue and the value of its shares. And just as with
are entitled to damages because mismanagement has             those shareholders, Halo's injuries were “not inflicted
rendered their stock of less value, since the injury is       directly or independently of [Empagio] but occurred
generally not to the stockholder individually, but to the     as an indirect consequence of the diversion of assets
corporation—to the shareholders collectively.”); accord       from [Empagio]....” Id. Therefore, like the preferred
Kramer v. Western Pac. Indus., Inc., 546 A.2d 348, 353        shareholders in Ionosphere, Halo lacks standing to bring
(Del.1988) (“Delaware courts have long recognized that        a direct action against the third parties who allegedly
actions charging mismanagement which depresses the            injured the corporation Halo owned.
value of stock allege a wrong to the corporation; i.e., the
stockholders collectively, to be enforced by a derivative     This is true even though Halo was the sole shareholder
action.” (quotations and alterations omitted)).               of Empagio and thus the only shareholder injured by
                                                              the defendants' misconduct because Connecticut law does
 *5 Indeed, this situation is analogous to one the Second     not make an exception to shareholder standing rules
Circuit faced in In re Ionosphere Clubs, Inc. (Sobchack       for closely-held corporations. For example, in Fink v.
v. American Nat'l Bank & Trust Co.), 17 F.3d 600, 604–        Golenbock, the Connecticut Supreme Court rejected the
07 (2d Cir.1994), where preferred shareholders alleged        argument that any injury to a shareholder in a closely-held
that a third party took actions that devalued the assets      corporation would necessarily give rise to a direct action
of a corporation to such an extent that the corporation       by the plaintiff-shareholder. 238 Conn. 183, 202–03, 680
no longer had enough money to pay the preferred               A.2d 1243 (1996). Indeed, the Connecticut Supreme Court
shareholders a dividend. The Second Circuit held that         has made it clear that shareholder standing rules apply
the corporation's loss of assets, which resulted in the       even where a single shareholder holds all the shares. Smith,
loss of the shareholders' dividend, “was not inflicted        267 Conn. at 461–62, 839 A.2d 589 (“It is commonly
[on the shareholders] ‘directly’ or ‘independently of the     understood that a shareholder-even the sole shareholder
corporation.’ “ Id. Rather, the alleged depletion of          —does not have standing to assert [direct] claims alleging
assets was inflicted only on the corporation, and the         wrongs to the corporation.”) (alternations and internal
nonpayment of the dividend suffered by the shareholders       quotation marks omitted).
“occurred only as an indirect consequence of those wrongs
against” the corporation. Id. at 606–07. Therefore, the        *6 While Halo makes two arguments in support of
Second Circuit concluded that the preferred shareholders'     standing, neither argument has merit. First, Halo claims
allegations did not give rise to a direct action because      that it had a contract with the Cooper Group to receive
“the injury to the preferred shareholders' contractual        the “swept” revenues, independent of its ownership of
rights to receive a dividend ... was not inflicted directly   Empagio's shares, and thus has standing to recover for
or independently of the corporation but occurred as           injuries caused by the Primus defendants' interference
an indirect consequence of the diversion of assets from       with that separate contract. The court, however, cannot
the corporation to other entities.” Id. at 606; see also      consider this claim because the second amended complaint
Manson v. Stacescu, 11 F.3d 1127, 1131 (2d Cir.1993)          does not allege the existence of any such separate contract
(holding that a fifty-percent shareholder lacked standing     between Halo and the Cooper Group regarding the
to pursue a direct action where the shareholder claimed       “swept” revenues. Moreover, the court cannot reasonably
that, by looting the company, the defendants violated         infer that Halo had a right to Empagio's revenues except
their fiduciary duties to the shareholder because the         through its ownership of Empagio's shares because it is a
                                                              “fundamental principle of corporate law that the parent



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corporation and its subsidiary are treated as separate        Compl. ¶¶ 49 (emphasis added), 67 (alleging that
                                                              the defendants “conspired to unlawfully and tortiously
and distinct legal persons,” SFA Folio Collections, Inc. v.
                                                              interfere with Empagio's contractual relationships with its
Bannon, 217 Conn. 220, 232, 585 A.2d 666 (1991), and it
                                                              clients and Halo's lender, and to tortiously impede Halo's
is a general rule of corporate law that a shareholder does
                                                              cash flow by interrupting Empagio's business operations
not have a right to the corporation's revenues until they
                                                              in order to reduce Empagio's cash flow, by engaging
are distributed by the corporation. As the Connecticut
                                                              in fiduciary misconduct ...”) (emphasis added).) These
Supreme Court has stated:
                                                              allegations are based on Halo's status as an Empagio
            It is well settled in this state that a           shareholder, not on any contract between the parties, and
            corporation ... own[s] the undivided              therefore, the court cannot find that Halo has standing to
            earnings of the business, rather than             pursue claims against the Primus defendants based on a
            the stockholders ... [and] that the               contract for the sale of Empagio. 5
            latter cannot become the separate
            owners of any part of the common                   *7 Accordingly, the court finds that Halo does not have
            property until set apart by the                   standing to bring a direct action and recover individually
            management for that purpose, by                   against the Primus defendants. While Halo may have been
            declaring a dividend or otherwise....             able to bring a derivative action on behalf of Empagio,
                                                              it cannot do so now because it sold all its Empagio
Spooner v. Phillips, 62 Conn. 62, 24 A. 524, 526
                                                              shares to a third party. Once a shareholder disposes
(Conn.1892). Thus, the only reasonable inference from the
                                                              of his shares, he loses standing to bring a derivative
allegations in the second amended complaint is that Halo
                                                              action. Guarnieri v. Guarnieri, 104 Conn.App. 810, 821,
had no right to Empagio's revenues until they were set
                                                              936 A.2d 254 (2007) (“No longer a shareholder in the
aside by Empagio to be “swept” to Halo as a dividend.
                                                              corporation, the defendant cannot maintain a derivative
                                                              action on its behalf.”) Therefore, Halo lacks standing to
Second, Halo contends that it has standing to sue
                                                              pursue the civil conspiracy and CUTPA claims against the
the Primus defendants, not because of its status as an
                                                              Primus defendants, and therefore, those claims must be
Empagio shareholder, but because it had a contract to sell
Empagio to the defendants. But Halo does not even allege      dismissed. 6
the existence of any contractual relationship between it
and the Primus defendants. Indeed, the second amended
complaint alleges that Halo entered into the Letter of                             CONCLUSION
Intent with the Cooper Group, not the Primus defendants.
And even so, the second amended complaint does not            For the foregoing reasons, the court GRANTS the motion
assert any claim that the Cooper Group breached that          to dismiss the second amended complaint [doc. # 117]
contract. To the contrary, the whole thrust of Halo's         by Primus Venture Partners, Inc., Primus Capital Fund
second amended complaint is that the Primus defendants        LP, LLC, Primus Venture Partners V, LLC, Jonathan E.
conspired with the Cooper Group to breach the Cooper          Dick, Phillip C. Molner, and Primus Venture Partners
Group's fiduciary duties to Halo, the sole shareholder of     and DISMISSES the second amended complaint without
Empagio. For example, Halo alleges that, in violating         prejudice.
CUTPA, the defendants “entered into a conspiracy to
wrongfully divert and impede Empagio's cash flow,             SO ORDERED.
misappropriate corporate opportunities and expectancies
belonging to Empagio and Halo, and tortiously interfere
                                                              All Citations
with Empagio's contractual relationships with its client[s]
to the detriment of Halo as its sole shareholder.” (Am.       Not Reported in F.Supp.2d, 2008 WL 4080081


Footnotes




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             Case Inc.
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1     In the second amended complaint, Halo alleges that the other members of the Cooper Group and C & B were involved
      in the conspiracy, but Halo does not name them as defendants because the court previously granted their motions to
      dismiss the first amended complaint for lack of personal jurisdiction.
2     The Primus defendants also move to dismiss Halo's CUTPA claim, but the court does not consider that argument because
      the court finds that the allegations in the second amended complaint do not support Halo's standing to bring either the
      CUTPA or the civil conspiracy claim.
3     On a motion to dismiss pursuant to Rule 12(b)(1), where a defendant challenges the factual accuracy of the plaintiff's
      allegations, a district court may resolve disputed factual issues by reference to evidence outside the pleadings. See, e.g.,
      Goonewardena v. New York, 475 F.Supp.2d 310 (S.D.N.Y.2007). However, because the Primus defendants only contest
      the sufficiency of Halo's allegations regarding standing, not their factual accuracy, the court need not look outside the
      second amended complaint and instead assumes for the purpose of this motion that Halo's allegations in the second
      amended complaint are true.
4     In determining standing, courts differ on whether to apply the law of the state in which the suit is brought or the law of
      the state of incorporation. Compare, e.g., Kennedy v. Venrock Assoc., 348 F.3d 584, 589 (7th Cir.2003) (“The question
      whether a suit is derivative by nature or may be brought by a shareholder in his own right is governed by the law of the
      state of incorporation.”), with Morgan Howard (United States), LLC v. Lewis, 2006 WL 2348892, at *4 (Conn.Sup.Ct.2006)
      (“Since Morgan Howard U.S. is a Delaware limited liability company, Delaware law would control as to defining or limiting
      defendant's rights as a shareholder or member of the company, but Connecticut law controls as to standing to maintain
      a lawsuit in this court.”). The parties assume that Connecticut law applies. While the second amended complaint does
      not indicate where Empagio is incorporated, the court knows from ruling on the first amended complaint that Empagio
      is incorporated in Delaware. Nevertheless, because the principles of shareholder standing are largely similar under
      Connecticut and Delaware law, the court nominally applies Connecticut law and looks to Delaware law to the extent
      it is instructive. See, e.g., Morgan Howard (United States), LLC, 2006 WL 2348892, at *4 (stating that, even though
      Connecticut law determines a shareholder's standing to bring suit, “Delaware law is nonetheless instructive on the
      standing issue”).
5     Halo also argued at oral argument that it has standing to bring claims against the Primus defendants, even though they
      were not in privity of contract with Halo, because they conspired with the Cooper Group to breach the Letter of Intent.
      Given that this argument was raised for the first time at oral argument, was never briefed by the parties, and relies on
      allegations absent from the second amended complaint, the court does not consider it at this time.
6     While the Primus defendants ask the court to dismiss Halo's complaint with prejudice, the court declines to do so because
      Halo indicated at oral argument that it believes it can plead facts sufficient to establish standing. See Fed.R.Civ.P. 15(a)
      (providing that leave to amend a complaint “shall be freely given when justice so requires”); see also Porat v. Lincoln
      Towers Cmt'y Ass'n, 464 F.3d 274, 276 (2d Cir.2006) (stating the “this circuit strongly favors liberal grant of an opportunity
      to replead after dismissal of a complaint ...”).


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                                                             capacity. See [Dkt. # 17]. Defendant argued that the claim
                                                             belonged to the Corporation and could only be asserted
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                                                             in a derivative not direct action. On November 17, 2010,
   Only the Westlaw citation is currently available.
                                                             the prior court denied Defendant's motion to dismiss
    United States District Court, D. Connecticut.
                                                             without prejudice to raising the same issues in a motion
           Wildey J. MOORE, Plaintiff,                       for summary judgment. See [Dkt. # 29]. Defendant then
                       v.                                    filed a motion for summary judgment on this same exact
 F.A. INVESTMENT HOLDINDS, LTD., Defendants.                 issue arguing again that Moore lacks standing to bring a
                                                             breach of fiduciary duty claim directly. See [Dkt. # 31].
            Civil Action No. 3:10cv891(VLB).                 Defendant also argues that summary judgment should
                             |                               be granted on Plaintiff's negligent infliction of emotional
                      March 5, 2012.                         distress claim since Plaintiff has admitted that he did not
                                                             suffer any emotional distress as a result of Defendant's
Attorneys and Law Firms                                      conduct. In opposition to the summary judgment motion,
                                                             Plaintiff indicated that he has abandoned his claim for
Frank J. Scinto, Gager Emerson Rickart Bower & Scalzo,
                                                             negligent infliction of emotional distress and conceded to
Southbury, CT, for Plaintiff.
                                                             judgment entering in favor of Defendant on that claim.
David R. Makarewicz, Richard S. Order, Updike, Kelly         See [Dkt. # 38, Pl. Mem. at 2].
& Spellacy, PC, Hartford, CT, for Defendants.
                                                             After the case was transferred to this Court, the Court
                                                             ordered the parties to confer and file a joint status report
                                                             and directed the Plaintiff to indicate if he intended to
         MEMORANDUM OF DECISION
                                                             amend the complaint to bring a derivative action. See
       GRANTING DEFENDANT'S MOTION
                                                             [Dkt. # 45]. In the joint status report, Plaintiff indicated
     FOR SUMMARY JUDGMENT [DKT. # 31]
                                                             that he did not intend to amend the complaint to assert a
VANESSA L. BRYANT, District Judge.                           derivative claim. See [Dkt. # 46].

 *1 Before the Court is a motion for summary judgment
filed by the Defendant, F.A. Investment Holdings, LTD.       Facts
(“F.A. Investment or FAI”). The Plaintiff, Wildey J.         The following facts relevant to Defendant's motion
Moore (“Moore”) brought this suit in diversity in his        for summary judgment are undisputed unless otherwise
individual capacity alleging two claim. First, that F.A.     noted. Although Defendant has filed a motion for
Investment as majority shareholder in Wildey F.A., Inc.      summary judgment, both parties mainly rely on the
(the “Corporation”) breached the fiduciary duty it owed      allegations made in Plaintiff's verified complaint as
to Moore, the Corporation's minority shareholder, and        opposed to the parties' Local Rule 56 statements.
second that Defendant engaged in a negligent infliction      However, a verified complaint may “be treated as an
of emotional distress. For the reasons stated hereafter,     affidavit for summary judgment purposes, and therefore
Defendant's motion for summary judgment is granted.          will be considered in determining whether material issues
                                                             of fact exist.” Colon v. Coughlin, 58 F.3d 865, 872 (2d
                                                             Cir.1995).
Background
On December 15, 2011, the present case was transferred        *2 The Corporation is a Connecticut corporation with
to this Court from another court in the District of          a principal office in Warren, Connecticut and is engaged
Connecticut. The case was originally removed from the        in the design, development, production, sale manufacture
Connecticut Superior Court to the District of Connecticut    and export of automatic and semi-automatic firearms.
on June 7, 2010.                                             See [Dkt. # 1, Compl. at ¶ 3]. Moore founded the
                                                             Corporation in 1973 and has a 49% ownership interest in
On July 30, 2007, Defendant moved to dismiss Plaintiff's     the Corporation. [Id. at ¶ 4].
breach of fiduciary duty claim on the basis that Plaintiff
lacked standing to assert such a claim in his individual


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King Abdullah II of Jordan and the King Abdullah                three employees including Plaintiff's wife and cut back on
II Design and Development Bureau (“KADDB”)                      the hours on another employee. Medical insurance and
approached Moore about developing a semiautomatic               other insurance payments were stopped and Plaintiff's pay
pistol for the Jordanian armed forces which would be            was cut.”
later named the “Viper.” [Id. at ¶ 5]. On December 6,
2006, the Corporation obtained a Manufacturing License          “Samman, FAI and KADDB cancelled a certain contract
Agreement from the United States Department of State in         for the sale of Jordanian military surplus which contract
connection with the design and development of the Viper.        had been arranged by the Plaintiff which would have
[Id. at ¶ 6].                                                   benefited the Plaintiff and the Corporation.”

Haitham Mufti (“Mufti”) headed KADDB and then                    *3 “Samman and others, acting on behalf of KADDS
formed F.A. Investment, a British Virgin Island                 and FAI, unilaterally fabricated financial entries resulting
corporation. Mufti was appointed as president of F.A.           in a multi-million dollar shareholders loan from KADDS
Investment. [Id. at ¶¶ 2, 7]. F.A. Investment acquired a        and/or FAI and coerced the Plaintiff into agreement with
51% ownership interest in the Corporation from Moore's          such entries with the threat of firing him and taking away
then majority partner Richard Rodrigue. [Id.].                  from him any chance of obtaining a monetary return from
                                                                his stock ownership in the Corporation.”
Moore alleges that Mufti represented that F.A.
Investment would be a passive investor who had                  “FAI prohibited the Plaintiff from selling any Wildey
no authority to direct or cause the direction of the            Survivor guns or parts or manufacture and sell
management, policies and buying and selling practices of        ammunition to generate revenue; further stripping
the Corporation. [Id. at ¶ 8]. Moore also alleges that Mufti    Plaintiff of his ability to obtain a monetary return from
represented to him that F.A. Investment's role was to           his stock ownership.”
fund the Corporation's business. [Id.]. Moore and his wife
Linda Moore served as Directors of the Corporation. [Id.].      “FAI required thal Plaintiff's work focus entirely on
                                                                the Viper pistol and other projects of the King
On May 18, 2006, Moore suffered a stroke and was                without attention to the overall financial health of the
hospitalized and in rehabilitation until September 22,          Corporation.
2006. [Id. at ¶ 12].
                                                                Moore further alleges that “[k]nowing of Plaintiff's
Beginning in 2007 and continuing to date, Moayad                financial and physical vulnerability due to a recent stroke”
Samman (“Samman”) replaced Mufti as the chairman                Samman, on behalf of FAI and KADDS, proceeded to
and CEO of KADDB and assumed control of F.A.                    continue to apply financial pressure on the Plaintiff in
Investment. [Id. at ¶ 14]. Moore alleges that after Samman      an attempt to have him sell his 49% interest to FAI for
was in control, F.A. Investment “engaged in a continuing        relatively little value; continually misrepresenting to the
course of conduct to assert total control and direction of      Plaintiff that the Viper pistol was a failure .”
the management, policies, and buying and selling practice
of the Corporation as they pertained to all firearms.” [Id.].   “FAI proposed to amend the MLA to circumvent
                                                                the Corporation and Plaintiff's role in importing and
Moore alleges that since 2007 F.A. Investment has               exporting the Viper pistol. Plaintiff and his wife
“engaged in a continuing course of conduct aimed                refused to support the proposed amended MLA and
at ensuring that Plaintiff would receive no monetary            subsequently were relieved from their duties as officers
return from his stock ownership and aimed at ensuring           of the Corporation” and then “Plaintiff and his wife
that Plaintiff would be shut out from the operational           were removed as Directors of the Corporation.” “On
and financial management of the Corporation” in the             September 30,2009 the Plaintiff was fired from his
following ways. Initially “[i]n 2007, without any prior         employment with the Corporation.” [Id. at ¶ 15]. Moore
notice to Plaintiff, and knowing of Plaintiff's financial and   did not have a written employment agreement with
physical vulnerability due to a recent stroke, FIA cut off      the Corporation and he was an at will employee. See
funding to the Corporation; forcing Plaintiff to terminate      [Dkt. # 33, Def. Local 56 Statement at ¶¶ 3–4]. In



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the parties' Local Rule 56 Statements, Moore admits              at ¶ 24]. Moore argues that he suffered a loss since
that his employment allegations relating to terminating          “any distribution of profits to Moore will come after
employees, cutting hours, pay or benefits are unrelated to       the payment of the loans Moore was forced to agree
his stock ownership. [Id. at ¶ 8].                               to. As a result the majority shareholder will improperly
                                                                 receive improper distributions by way of repayment of
In the parties' Local Rule 56 Statements, Moore admits           a fictitious loan and Plaintiff's claim to distributions has
that many of the actions he is alleging were a breach of         been diluted.” [Dkt. # 39, Pl. Local Rule 56 Statement at
F.A. Investment's fiduciary duty equally affected the value      ¶ 24].
of both Moore's minority shares and F.A. Investment's
majority shares. Moore admits that any damage resulting
from the alleged cancellation of the contract for the            Legal Standard
sale of Jordanian surplus equally affected the value of          Summary judgment should be granted “if the movant
both Moore's minority shares and F.A. Investment's               shows that there is no genuine dispute as to any material
majority shares. [Id. at ¶ 10]. Moore also admits that           fact and the movant is entitled to judgment as a matter
any damage resulting from F.A. Investment's alleged              of law.” Fed.R.Civ.P. 56(a). The moving party bears the
decision to focus on the Viper pistol rather than the            burden of proving that no factual issues exist. Vivenzio
Wildey Survivor firearm equally affected the value of both       v. City of Syracuse, 611 F.3d 98, 106 (2d Cir.2010).
Moore's minority shares and F.A. Investment's majority           “In determining whether that burden has been met, the
shares. [Id. at ¶ 12].                                           court is required to resolve all ambiguities and credit all
                                                                 factual inferences that could be drawn in favor of the
Moore never sold any of his stock in the Corporation as a        party against whom summary judgment is sought.” Id.,
result of F.A. Investment's alleged attempts to force him        (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
to sell his minority shares. [Id. at ¶ 13]. Moore alleges        255, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); Matsushita
he suffered damages as a result of F.A. Investment's             Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
attempts to force him to sell his minority shares in that        587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986)). “If there
he was forced to agree to characterize sums paid by F.A.         is any evidence in the record that could reasonably
Investment or KADDB as loans. [Dkt. # 39, Pl. Local              support a jury's verdict for the nonmoving party, summary
Rule 56 Statement at ¶ 15].                                      judgment must be denied.” Am. Home Assurance Co.
                                                                 v. Hapag Lloyd Container Linie, GmbH, 446 F.3d 313,
 *4 Between June 2004 and December 2007, F.A.                    315–16 (2d Cir.2006) (internal quotation marks and
Investment's provided more than $1.5 million of funds to         citation omitted). At the summary judgment stage of the
the Corporation. There was no written agreement that             proceeding, plaintiffs are required to present admissible
funds provided by F.A. Investments to the Corporation            evidence in support of their allegations; allegations alone,
were to be used as operating capital or a gift. See [Dkt. #      without evidence to back them up, are not sufficient.”
33, Def. Local 56 Statement at ¶¶ 17, 29]. Moore and his         Welch–Rubin v. Sandals Corp., No.3:03cv481, 2004 WL
wife signed corporate tax returns that classified the funds      2472280, at *1 (D.Conn. Oct.20, 2004) (internal quotation
provided by F.A. Investment as “JAWS LOAN.” [Id. at              marks and citations omitted).
¶ 20].

                                                                 Analysis
F.A. Investment alleges that the funds were always
                                                                 Defendant argues that Moore as minority shareholder
intended to be a loan to the Corporation and were never
                                                                 lacks standing to assert a claim for breach of fiduciary
intended to be operating capital or a gift. [Id. at ¶¶ 21–22].
                                                                 duty directly as such claim belongs to the Corporation
Moore alleges that he and his wife were forced to agree to
                                                                 and must be brought derivatively. Plaintiff argues that
characterize the funds as loans under the threat of being
                                                                 his claims are not derivative since he has suffered an
fired. [Dkt. # 39, Pl. Local Rule 56 Statement at ¶¶ 21–22].
                                                                 individual injury and thus his claim may be brought
                                                                 directly.
F.A. Investment alleges that Moore has suffered no
ascertainable loss resulting from the treatment of the
                                                                  *5 “In determining standing, courts differ on whether
funds as a loan. [Dkt. # 33, Def. Local 56 Statement
                                                                 to apply the law of the state in which the suit is brought


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or the law of the state of incorporation.” Halo Tech                     is generally not to the shareholder
Holdings, Inc. v. Cooper, Civ.No.3:07–cv–489 (AHN),,                     individually, but to the corporation-
2008 WL 4080081, at *3n.4 (D.Conn. Aug. 29, 2008).                       to the shareholders collectively....
Here since the suit was brought in Connecticut and                       In this regard, it is axiomatic that
the Corporation is a Connecticut corporation there is                    a claim of injury, the basis of
no dispute that Connecticut law applies to determine                     which is a wrong to the corporation,
standing. Connecticut courts have acknowledged that the                  must be brought in a derivative
“principles of shareholder standing are largely similar                  suit, with the plaintiff proceeding
under Connecticut and Delaware law” and therefore                        secondarily, deriving his rights from
Connecticut courts will look to Delaware law to the                      the corporation which is alleged to
extent it is instructive. Id. (citing Morgan Howard (United              have been wronged.... It is, however,
States) LLC v. Lewis, No.FSTCV0500634S, 2006 WL                          well settled that if the injury is one
2348892, at *4 (Conn.Sup.Ct. July 14, 2006)).                            to the plaintiff as a stockholder,
                                                                         and to him individually, and not
The Connecticut Supreme Court revisited the issue a                      to the corporation, as where an
shareholder standing in its recent decision in May v.                    alleged fraud perpetrated by the
Correy, 291 Conn. 106, 967 A.2d 495, (2009). In May,                     corporation has affected the plaintiff
minority shareholders in a closely held corporation                      directly, the cause of action is
in their individual capacities brought claims against                    personal and individual.... In such
other minority shareholders for breach of fiduciary                      a case, the plaintiffshareholder
duty and unjust enrichment. The Connecticut Supreme                      sustains a loss separate and distinct
Court explained that a derivative suit “ ‘is an equitable                from that of the corporation, or
action by the corporation as the real party in interest                  from that of other shareholders, and
with a stockholder as a nominal plaintiff representing                   thus has the right to seek redress in a
the corporation ... It is designed to facilitate holding                 personal capacity for a wrong done
wrongdoing directors and majority shareholders to                        to him individually.
account and also to enforce corporate claims against third
persons. If the duties of care and loyalty which directors    *6 178 Conn. at 281–82, 422 A.2d 311 (internal quotation
owe to their corporations could be enforced only in suits     marks and citations omitted).
by the corporation, many wrongs done by directors would
never be remedied.’ “ 291 Conn. at 114–125, 967 A.2d          In May, the Connecticut Supreme Court explained that
56 (quoting Barrett v. Southern Connecticut Gas Co., 172      it had “reaffirmed the general rule that ‘[i]n order for a
Conn. 362, 370, 374 A.2d 1051 (1977)).                        shareholder to bring a direct or personal action against
                                                              the corporation or other shareholders, that shareholder
The May court further explained that the Connecticut          must show an injury that is separate and distinct
Supreme Court had previously held in Yanow v. Teal            from that suffered by any other shareholder or by the
Industries, Inc., 178 Conn. 262, 422 A.2d 311 (1970) that     corporation.... [A] shareholder-even the sole shareholder-
                                                              does not have standing to assert claims alleging wrongs to
            A distinction must be made between                the corporation.’ “ May, 291 Conn. at 115, 967 A.2d 495
            the right of a shareholder to bring               (quoting Smith v. Synder, 267 Conn. 456, 461, 839 A.2d
            suit in an individual capacity as the             589 (2004)).
            sole party injured, and his right to
            sue derivatively on behalf of the                 The Connecticut Supreme Court also clarified that a
            corporation alleged to be injured....             derivative not direct suit is appropriate even where one
            Generally, individual stockholders                of the shareholders participated in and benefited from
            cannot sue the officers at law for                the alleged wrongdoing. “[N]othing in our case law
            damages on the theory that they                   suggests, that an individual cause of action is required
            are entitled to damages because                   when a derivative action would have the indirect effect
            mismanagement has rendered their                  of redressing an injury to those shareholders whose self-
            stock of less value, since the injury             dealing caused the harm to the corporation.” Id. at 118,


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967 A.2d 495. The Connecticut Supreme Court suggested           their stock of less value, since the injury is generally not to
that where a majority shareholder intentionally depletes        the stockholder individually, but to the corporation-to the
the corporation's assets for the sole purpose of decreasing     shareholders collectively.”). Therefore, Plaintiff cannot
the value of the minority shareholder's stock that action       maintain a direct cause of action for breach of fiduciary
would nonetheless be derivative. Id. at 119, 967 A.2d 495       duty based on this alleged conduct.
(citing Sax. v. World Wide Press, Inc., 809 F.2d 610, 614
(9th Cir.1987)).
                                                                   b. The injury to Moore from F.A. Investment's decision
Accordingly, the central inquiry before the Court is               to cancel a contract for sale of Jordanian military
whether any of the alleged conduct that Moore complains            surplus is not separate and distinct from that suffered by
of caused him to suffer an injury that is separate and             the Corporation or all shareholders
distinct from that suffered by any other shareholder or         Moore alleges that F.A. Investment “cancelled a certain
by the corporation. If so, Moore will have standing             contract for the sale of Jordanian military surplus which
to maintain his claim directly. If however, the alleged         contract had been arranged by the Plaintiff which would
conduct resulted in an injury that was not separate and         have benefited the Plaintiff and the Corporation.” [Dkt.
distinct but rather also affected the Corporation or other      # 1, Compl. at ¶ 15]. First, Moore concedes in his own
shareholders, the claim must be brought derivatively and        allegation that the contract would have benefitted the
Moore will not have standing to maintain the claim              Corporation and therefore expressly acknowledges that
directly.                                                       the Corporation was also injured by its cancellation.
                                                                Second, he admits that any damage resulting from the
                                                                alleged cancellation of the contract for the sale of
   a. The injury to Moore from F.A. Investment's decision       Jordanian surplus equally affected the value of both
   to cut off funding to the Corporation is not separate        Moore's minority shares and F.A. Investment's majority
   and distinct from that suffered by the Corporation or all    shares. [Dkt. # 33, Def. Local 56 Statement at ¶ 8].
   shareholders                                                 Accordingly, this injury belongs to the Corporation,
Moore alleges that F.A. Investment “cut off funding             would have impacted all shareholders and is therefore not
to the Corporation; forcing Plaintiff to terminate three        separate and distinct to Moore as a minority shareholder.
employees including Plaintiff's wife and cut back on the        The cancellation of the contract is really a claim
hours on another employee. Medical insurance and other          that F.A. Investment interfered with the Corporation's
insurance payments were stopped.” [Dkt. # 1, Compl. at          revenues and therefore must be brought derivatively.
¶ 15]. However this injury belongs to the Corporation           See Halo Tech Holdings, Inc., 2008 WL 4080081, at *4
as a whole and is not separate and distinct to Moore as         (finding that allegations that defendants interfered with
a minority shareholder. First, Moore acknowledges that          company's revenues which “set off a domino reaction-
his allegations regarding the termination of employees,         one injury cause another, and so on” did not mean that
cutting hours, pay or benefits are unrelated to his stock       defendants' mismanagement directly injured shareholder
ownership and therefore concedes that this alleged injury       and therefore shareholder's injuries were not separate and
is not unique to him as a minority shareholder but rather       distinct from the company's injuries). Therefore, Plaintiff
belongs to the Corporation. Second, cutting off funding to      cannot maintain a direct cause of action for breach of
the Corporation is patently an injury to the Corporation        fiduciary duty based on this alleged conduct.
and not unique to Moore.

 *7 Moore's alleged injury as a minority shareholder is           c. The injury to Moore from F.A. Investment's
therefore purely derivative to that of the Corporation's          fabrication of financial entries resulting in a shareholder
injury. Moore's claim is that the Corporation was less            loan is not separate and distinct from that suffered by
profitable as a result of the funding cut thereby causing his     the Corporation or all shareholders
stock to be less valuable. Such a claim is quintessentially     Moore alleges that F.A. Investment “unilaterally
a derivative claim. See Yanow, 178 Conn. at 281–83, 422         fabricated financial entries resulting in a multi-million
A.2d 311 (“Generally, individual stockholders cannot sue        dollar shareholders loan from KADDS and/or FAI and
the officers at law for damages on the theory that they are     coerced the Plaintiff into agreement with such entries with
entitled to damages because mismanagement has rendered          the threat of firing him and taking away from him any


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chance of obtaining a monetary return from his stock             offset their injury but “whether the company, i.e., all
ownership in the Corporation.” [Dkt. # 1, Compl. at ¶            existing shareholders, suffered an injury as a result of
15]. Here again the injury from treating the funds as loans      the unreasonably low offering price of the new shares.”
is to the Corporation and would affect all shareholders.         May, 291 Conn. at 118, 967 A.2d 495. The Connecticut
In fact, Moore argues that he suffered a loss from the           Supreme Court concluded that “[i]t is undisputed that
treatment of the funds as a loan since “any distribution         the unreasonably low offering price equally diluted the
of profits to Moore will come after the payment of the           value of all existing shares. Participating shareholders and
loans Moore was forced to agree to. As a result the              nonparticipating shareholders, therefore, were harmed
majority shareholder will improperly receive improper            equally by the offering. The mere fact that the
distributions by way of repayment of a fictitious loan and       participating shareholders were able and willing to offset
Plaintiff's claim to distributions has been diluted.” [Dkt.      the injury to their existing shares partially or completely
# 39, Pl. Local Rule 56 Statement at ¶ 24]. However, F.A.        by purchasing new shares at the unreasonably low price
Investment as majority shareholder would suffer the same         did not lessen the dilution of their existing shares. The
exact loss as Moore in that any distribution of profits          plaintiffs' argument improperly distracts our attention
to it as majority shareholder would also only occur after        from the injuries that flow to the corporation from the
the payment of the loans. Consequently, Moore has not            defendants' allegedly wrongful conduct by focusing on the
alleged an injury that is distinct and separate from that        benefits to certain shareholders that accrued therefrom.”
which F.A. Investment would also suffer. Moreover, the           Id. Here as was the case in May, Moore is distracted from
Corporation itself suffered in that it incurred a debt as        the allegedly wrongful conduct by focusing on the benefits
opposed to receiving a capital contribution or gift and          that F.A. Investment accrued in its capacity as a lender
would arguably be less profitable as a result.                   of the funds. As was the case in May, it is undisputed
                                                                 that the effect of treating the funds as a loan resulted in a
 *8 Moore seems to be suggesting that F.A. Investments           diminished distribution of profits to all shareholders as a
wouldn't be injured in the same way as himself since             result of the Company having incurred a debt. Therefore,
F.A. Investments would also be receiving the benefits            Plaintiff cannot maintain a direct cause of action for
of the loan being paid back to itself. Moore's argument          breach of fiduciary duty based on this alleged conduct.
appears to be premised on the fact F.A. Investment would
uniquely profit since it forced the Corporation to pay           Moreover, considering the fact that Moore asserts that
back the funds when it allegedly forced the Corporation          F.A. Investment was an investor in the corporation
to treat the funds as a loan instead of as a gift. However       and there was never any written agreement that F.A.
this argument is somewhat misplaced as it focuses on the         Investment would provide funds to the Corporation as
benefits that F.A. Investment was able to realize in its         operating capital or a gift rather than for a return on its
capacity as lender as opposed to the injuries suffered by        capital, the Plaintiff has not shown that F.A. Investment
the Corporation itself and thereby to all its shareholders.      as a majority shareholder had a fiduciary duty to provide
F.A. Investment in its capacity as a shareholder of the          operating capital without consideration as a gift to the
Corporation was affected by the loan itself in the same          Corporation. Therefore it would be questionable if F.A
manner as Moore.                                                 Investment breached its fiduciary duty as a majority
                                                                 shareholder by insisting that it receive a return on its
The Connecticut Supreme Court's decision in May is               investment by characterizing the infusion of funds as a
instructive on this point. In May, the plaintiffs alleged        loan. However, the Court need not address this issue as it
that the defendant shareholders set an unreasonably low          is clear that the injury from F.A. Investment's insistence
offering price for additional shares offered to existing         that the Corporation treat the funds as a loan was a
shareholders. Some of the existing shareholders were able        derivative one.
to offset the injury to their existing shares by participating
in the offering and therefore plaintiffs argued their injury
was unique from the other shareholders who offset.                 d. The injury to Moore from F.A. Investment's forcing
However the Connecticut Supreme Court explained that               the Corporation to focus on the Viper and not sell any
the plaintiffs “focused on the wrong inquiry” as the               Wildley survivor guns is not separate and distinct from
issue wasn't whether existing shareholders were able to            that suffered by the Corporation or all shareholders



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 *9 Moore alleges that F.A. Investment “prohibited               not alleged any injury since he did not sell his shares
Plaintiff from selling any Wildey Survivor guns or parts         in response to F.A. Investment's alleged conduct and
or manufacture and sell ammunition to generate revenue;          therefore cannot maintain a cause of action for breach of
further stripping Plaintiff of his ability to obtain a           fiduciary duty.
monetary return from his stock ownership” and “required
that Plaintiff's work focus entirely on the Viper pistol and     Under Connecticut Law, the essential elements to
other projects of the King without attention to the overall      pleading a cause of action for breach of fiduciary duty
financial health of the Corporation.” [Dkt. # 1, Compl.          are “(1). That a fiduciary relationship existed which
at ¶ 15]. Moore appears to be suggesting that the effect of      gave rise to (a) a duty of loyalty on the part of the
F.A. Investment prohibiting the Corporation from selling         defendant to the plaintiff, (b) an obligation on the
any Wildey Survivor guns and requiring the Corporation           part of the defendant to act in the best interests of
to focus on the Viper pistol resulted in lower profits for the   the plaintiff, and (c) an obligation on the part of the
Corporation. In fact, Moore concedes and acknowledges            defendant to act in good faith in any matter relating to
in his own allegation that that the consequence of the           the plaintiff; (2). That the defendant advanced his or her
decision to focus on the Viper was detrimental to “overall       own interests to the detriment of the plaintiff; (3). That
financial health of the corporation” and admits that any         the plaintiff sustained damages; (4). That the damages
damage resulting from the any damage resulting from              were proximately caused by the fiduciary's breach of his
F.A. Investment's alleged decision to focus on the Viper         or her fiduciary duty.” McCreary v. One Strawberry Hill
pistol rather than the Wildey Survivor firearm equally           Ass'n, Inc., No.FSTCV106006749S, 2011 WL 2150442, at
affected the value of both Moore's minority shares and           *2 (Conn.Super.Ct. April 29, 2011) (Internal quotation
F.A. Investment's majority shares.. [Dkt. # 33, Def. Local       marks and citation omitted). Here Moore does not allege
56 Statement at ¶ 12]. Therefore Moore has failed to prove       that he succumbed to the alleged pressure and did not
he suffered an injury distinct and separate from that of the     sell his shares to F.A. Investment for little value. Instead,
Corporation or F.A. Investment as majority shareholder.          his response Summary Judgment alleges that he suffered
To the extent that the Corporation was less profitable           damages as a result of F.A. Investment's attempts to force
and that resulted in the shares of the Corporation being         him to sell his minority shares in that he was forced to
devalued, such injury to Moore's stock is first derivative to    agree to characterize sums paid by F.A. Investments or
the Corporation's injury and second the resulting effect on      KADDB as loans. [Dkt. # 39, Pl. Local Rule 56 Statement
the value of the shares equally impacted both Moore and          at ¶ 15]. However as discussed above, the injury from
F.A. Investment's shares. As discussed above, Moore's            characterizing the funds provided by F.A. Investment as
allegations that F.A. Investment forced the Corporation          loans was an injury to the Corporation and to the extent
to focus on the Viper and not sell any Wildey guns are           that the Corporation's accrual of debt impacted the profits
really a claim that F.A. Investment interfered with the          of the Corporation and resulted in Moore's shares having
Corporation's revenues and therefore must be brought             less value that injury would also have the same effect on
derivatively. Accordingly, Plaintiff cannot maintain a           F.A. Investment's shares. Consequently, the injury Moore
direct cause of action for breach of fiduciary duty based        alleges that he suffered that was proximately cause by F.A.
on this alleged conduct.                                         Investment's attempt to force him to sell his shares is not
                                                                 separate and distinct from that of the Corporation and
                                                                 therefore it must be brought derivatively.
   e. Moore has not alleged that he suffered a distinct and
   separate injury from F.A. Investment's attempts to force       *10 The Court notes it need not address whether Moore
   him to sell his interest for little value                     has standing to sue directly if Moore had sold his shares
Moore has alleged that “[k]nowing of Plaintiff's financial       for little value since Moore has admittedly not suffered
and physical vulnerability due to a recent stroke”               that particular injury.
Samman, on behalf of FAI and KADDS, proceeded to
continue to apply financial pressure on the Plaintiff in
an attempt to have him sell his 49% interest to FAI for            f. The injury to Moore from F.A. Investment's
relatively little value; continually misrepresenting to the        proposed amendment to the MLA is not separate and
Plaintiff that the Viper pistol was a failure.” [Dkt. # 1,         distinct from that suffered by the Corporation or all
Compl. at ¶ 15]. F.A. Investment argues that Moore has             shareholders


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Moore alleges that F.A. Investment “proposed to amend         at ¶ 15]. Under the Corporation's By–Laws, it expressly
the MLA to circumvent the Corporation and Plaintiff's         provides that “Directors need not be Shareholders and
role in importing and exporting the Viper pistol.” [Dkt.      need not be residents of Connecticut.” See [Dkt. # 38,
# 1, Compl. at ¶ 15]. First, Moore acknowledges that the      By–Laws, Ex. 5. Article IV § 1]. Therefore Moore did
proposed amendment to the MLA would have the effect           not have a right to serve as a director on the basis of
of circumventing the Corporation's role in importing          his status as a minority shareholder. The By–Laws also
and exporting the Viper and therefore Moore essentially       provides that any director may be removed with cause at
concedes that the injury sustained by the proposed            any time by the act of shareholders. [Id. at Article IV §
amendment is one that belongs to the Corporation. It also     7]. Moore has not alleged nor has he put forth any facts
does not appear that Moore in his capacity as a minority      that he was removed as a director in violation of the terms
shareholder had any unique rights or responsibilities with    of the Corporation's By–Laws. Since Moore did not have
respect to the MLA. Therefore whatever injurious effect       a right as a shareholder to serve as a director, any injury
the proposed amendment had would solely accrue to the         he suffered from being removed as a director is therefore
Corporation. Accordingly whatever injurious impact it         unrelated to his status as a minority shareholder.
had on the value of Moore's shares would be derivative
of the injury of the Corporation. Accordingly, Plaintiff       *11 Again, Moore is focusing on the wrong inquiry
cannot maintain a direct cause of action for breach of        and injury by confusing the fact that he had multiple
fiduciary duty based on this alleged conduct.                 roles and served the Corporation in multiple capacities.
                                                              As discussed above, Moore cannot maintain a cause of
                                                              action for breach of fiduciary duty for conduct that was
   g. Moore cannot recover for breach of fiduciary duty       related to his role as an employee in the Corporation and
   based on an employment dispute                             unrelated to his role as a minority shareholder. Similarly,
Moore alleges that he was fired from his employment with      Moore cannot maintain a cause of action for breach
the Corporation. [Dkt. # 1, Compl. at ¶ 15]. However          of fiduciary duty for conduct that was related to his
there is no authority under Connecticut law “which            role as a director which was unrelated to his role as
supports a claim that the termination of employment of an     a minority shareholder. Accordingly, the specific injury
employeeshareholder by action of the other shareholders       to Moore from his removal as a director does not flow
and the corporation gives rise to a cause of action for       from his status as a minority shareholder since he had
breach of a fiduciary duty.” Lobo v. Rock, No.332930,         no right as a minority shareholder to serve as a director.
1993 WL 280239, at *2 (Conn.Super.Ct. July 15, 1993)          Further, Moore does not explain how his removal from
(citations omitted). Here, Moore has not alleged that         the Corporation's board of directors had any unique or
his termination resulted in a unique and distinct harm        peculiar effect on his rights as a minority shareholder nor
to him in his capacity as minority shareholder. Further,      does Moore argue that under Connecticut Law a majority
under Delaware law, which Connecticut courts routinely        shareholder has a fiduciary duty to ensure that a minority
look towards as instructive, it is well established that “a   shareholder participates in a corporation's business as a
shareholder of a closely held corporation who is also an      director of a corporation.
employee cannot recover for breach of fiduciary duty
where the claim is essentially an employment dispute.”        The Court notes that directors of a corporation have
Wall Street Sys., Inc. v. Lemence, No.04CIV.5229(JSR),        a fiduciary duty to the corporation itself and its
2005 WL 2143330, at *8 (S.D.N.Y. Sept.2, 2005)                shareholders. See Pacelli Bros. Transp., Inc. v. Pacelli,
(interpreting Delaware law). Accordingly, Moore cannot        189 Conn. 401, 407, 456 A.2d 325 (1983) (“An officer
recover for breach of fiduciary duty as his claim involves    and director occupies a fiduciary relationship to the
a quintessential employment dispute.                          corporation and its stockholders. He occupies a position
                                                              of the highest trust and therefore he is bound to
                                                              use the utmost good faith and fair dealing in all his
  h. The injury to Moore from his removal from the
                                                              relationships with the corporation”) (internal quotation
  board of directors is not separate and distinct from that
                                                              marks and citations omitted). Since a director occupies
  suffered by the Corporation or all shareholders
                                                              a fiduciary relationship to a minority shareholder, a
Moore alleges that F.A. Investment removed himself and
                                                              minority shareholder will have an interest in ensuring
his wife as directors of the Corporation. [Dkt. # 1, Compl.


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that only competent individuals serve as directors. To the     However, unlike in Yanow F.A. Investment has not
extent that Moore's injury derives from the fact that a        deprived Moore of his shares or avoided paying Moore the
competent director, namely himself and his wife, were          full market value for his shares. In Yanow, the Connecticut
removed from the board that injury would really belong         Supreme Court's conclusion that the plaintiff had alleged
to the Corporation and all shareholders and is therefore       a direct cause of action was based on its conclusion that
not unique to Moore as a minority shareholder. The harm        the plaintiff alleged a unique injury in that he was entirely
from having a less able and competent board of directors       deprived of the value of his shares when the shortform
is an injury that belongs to the Corporation in general and    merger was accomplished. Here there is no equivalent
therefore Moore in his capacity as a minority shareholder      injury to Moore's shares as it is undisputed that Moore
did not suffer any unique or distinct injury as is necessary   still has a 49% interest in the Corporation and did not
to bring an direct action.                                     succumb to F .A. Investment's attempts to force him to
                                                               sell that interest. Moore's alleged injuries are therefore
Moore relies on the Connecticut Supreme Court's decision       substantially different from the plaintiff in Yanow as
in Yanow and the Connecticut Superior Court's decision         Moore was not deprived of the value of his shares. The
in Leblanc v. Tomoiu, No. X08CV065001421S, 2007 WL             Yanow court's conclusion that the plaintiff sustained a loss
1828898, at *5 (Conn.Super.Ct. June 5, 2007), interpreting     separate and distinct was largely premised on the fact that
Yanow as support for the proposition that a direct cause of    only the plaintiff and no one else was deprived of the value
action may be maintained where a minority shareholder          of the shares through the short-form merger. Since there
has been ousted from management of a corporation               was no short-form merger and Moore has not been forced
and where the majority shareholder has looted the              to sell his shares for under market value, Moore has not
corporation. However the facts and circumstances of both       alleged an injury that is peculiar to him as was the case in
these cases are inapposite to the present case. In addition,   Yanow.
it appears that Yanow's holding has been narrowed by
the Connecticut Supreme Court's subsequent decisions in        Further, Moore has not alleged that F.A. Investment has
May and Fink v. Golenbock.                                     totally looted the value of the Corporation as was the
                                                               case in Yanow. In Yanow, the Connecticut Supreme Court
 *12 In Yanow, a minority shareholder in a subsidiary          suggested that “[i]f the controlling majority stockholder
company which was merged into a parent company                 seeks to injure the minority stockholder through the
in a short-form merger brought an action for breach            means of looting the corporation or so wrecking it that the
of fiduciary duty against the parent corporation and           minority stockholder would get nothing out of his assets,
its officer. 178 Conn. at 265, 422 A.2d 311. The               the claim resulting therefrom is sufficient to constitute
Connecticut Supreme Court concluded that allegations           an individual action.” Id. at 282 n. 9, 422 A.2d 311.
that the parent corporation and its officer looted the         However, Moore has not alleged that F.A. Investment
subsidiary corporation and failed to disclose important        had so drained the Corporation of its assets that Moore's
facts concerning corporation transactions stated personal      shares are effectively worthless. In addition, the Yanow
as opposed to derivative causes of action. The Connecticut     court also noted that “[g]enerally, individual stockholders
Supreme Court reasoned that plaintiffs had alleged that        cannot sue the officers at law for damages on the theory
the officer of the parent company “took advantage              that they are entitled to damages because mismanagement
of special facts concerning” the subsidiary company's          has rendered their stock of less value, since the injury
financial condition which he failed to disclose to the         is generally not to the shareholder individually, but to
plaintiff and “caused the merger to deprive the plaintiff      the corporation- to the shareholders collectively.” Id. at
of his shares and avoid paying the plaintiff their full fair   282, 422 A.2d 311. Here Plaintiffs allegations are really
market value.” Id. at 283, 422 A.2d 311. The Connecticut       that F.A. Investment had mismanaged the Corporation
Supreme Court found that “these causes of action [we]re        when it forced the Corporation to focus on the Viper,
based upon alleged unlawful acts relating solely to the        cancelled the Jordanian surplus contract, and prohibited
stock owned by the plaintiff, in violation of the fiduciary    the Corporation from selling the Wildey firearm as
duty owed the plaintiff by the defendants, and they thus       opposed to an allegation that F.A. Investment so looted
state individual, and not derivative, claims.” Id.             the Corporation that Moore would get nothing out his
                                                               minority ownership interest in the Corporation.



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                                                               120, 967 A.2d 495 (citation omitted). The May court
 *13 Lastly, it appears that the Connecticut Supreme           also explained that in Fink the Connecticut Supreme
Court has subsequently narrowed its holding in Yanow           Court contemplated that “ ‘there may be some instances
regarding allegations of corporate looting. As discussed       in which the facts of a case give rise either to a direct
above, the Connecticut Supreme Court in Yanow                  action or to a derivative action-such as when an act
contemplated that a direct action could be maintained          affects both the relationship of the particular shareholder
where there were allegations that “controlling majority        to the corporation and the structure of the corporation
stockholder seeks to injure the minority stockholder           itself, causing or threatening injury to the corporation .’
through the means of looting the corporation or so             “ Id. (citing Fink, 238 Conn. at 202–203, 680 A.2d 1243).
wrecking it that the minority stockholder would get            However, a claim of looting or wasting of assets is one
nothing out of his assets.” Yanow, 178 Conn. 281.              which does not affect both the structure of the corporation
However, subsequently in May the Connecticut Supreme           and the relationship of the shareholder to the corporation.
Court explained that “nothing in our case law suggests,        Instead a claim of looting is really an injury to the
that an individual cause of action is required when            corporation which then affects the relationship of the
a derivative action would have the indirect effect of          shareholders to the corporation.
redressing an injury to those shareholders whose self-
dealing caused the harm to the corporation.” May, 291           *14 Accordingly, the Supreme Court's subsequent
Conn. at 118, 967 A.2d 495. The Connecticut Supreme            decisions in Fink and May clarify that a cause of action
Court then cited to a Ninth Circuit decision which held        based on allegations of corporate looting which had the
that “[e]ven if the [majority shareholders] depleted [the      effect of destroying the Corporation's assets should be
corporation's] assets with the sole purpose of decreasing      considered derivative actions as the harm is really to the
the value of [the minority shareholder's] stock and            Corporation and not the shareholders. The Connecticut
destroying his return on his investment, the action would      Supreme Court has even suggested this would still be
nonetheless be derivative.” Id. at 119, 967 A.2d 495           the case even where the looting was done with the
(quoting Sax. v. World Wide Press, Inc., 809 F.2d 610, 614     sole purpose of decreasing the value of the minority
(9th Cir.1987)).                                               shareholder's stock. Accordingly, Moore's reliance on
                                                               Yanow to demonstrate that he is entitled to maintain a
The May court also pointed to the Connecticut Supreme          direct action is unpersuasive.
Court's decision in Fink v. Golenbrook, 238 Conn. 183, 680
A.2d 1243 (1996) in which it concluded that a shareholder      Moore also relies on Connecticut Superior Court's
of one half of a closely held corporation could initiate       decision in Leblanc v. Tomoiu for the proposition
a derivative action against the holder of the other half       that a direct action is appropriate where the majority
who “allegedly prevented the plaintiff from participating      shareholder has looted the corporation and also where a
in the business of the corporation, used corporation assets    minority shareholder has been ousted from management
to establish a new corporation, lost corporate funds in        of a corporation. In Leblanc, the minority shareholder
speculative investments and falsely informed corporation       brought an action for breach of fiduciary duty against
clients that the corporation no longer existed.” Fink, 238     the former officers, directors and shareholders of the
Conn. at 202, 680 A.2d 1243. In Fink, the Connecticut          company who allegedly came into control of the company
Supreme Court concluded the defendant's alleged conduct        and transferred all its assets and technologies to another
violated the “statutory duty of care he owed to the            company owned and controlled by the defendants in a
corporation. Therefore, a derivative suit on behalf of the     short-form merger. 2007 WL 1828898, at *1. The Leblanc
corporation was appropriate.” Id.                              court concluded that plaintiff's allegations that he was
                                                               a “victim of a ‘freeze-out’ acquisition in violation of
The May court noted that in Fink “we rejected the              fiduciary duties and disclosure obligations owed by the
defendant's argument that, in the case of a closely held       majority to the minority, and that as a result he has
corporation in which the plaintiff and the defendant were      been ousted from management of the corporation and
the only shareholders, any injury caused by the defendant      the corporation has been ‘looted’ of all its assets and
necessarily was an injury to the plaintiff individually, and   forced to shut down” stated a claim that is distinct to him
not an injury to the corporation.” May, 291 Conn. at           as a minority shareholder. Id. at *5. The Leblanc court



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relied heavily on the Supreme Court's decision in Yanow              shareholder has a duty to include the minority shareholder
                                                                     in the management of the corporation and does not
in concluding that the plaintiff's allegations stated a direct
                                                                     consider whether the duty allegedly breached was a
claim. However as was the case in Yanow, the facts and
                                                                     duty to the Corporation or the minority shareholder.
circumstances in Leblanc are inapposite to the present case
                                                                     Accordingly, the Court finds that Moore's reliance on
for many of the same reasons. Again, since Moore has not
                                                                     Leblanc is likewise unpersuasive.
been the victim of a short-form merger and has not been
deprived of the value of his shares, he does not have the
                                                                      *15 In sum, Moore has failed to demonstrate that he
same type of injury as alleged in both Yanow and Leblanc.
                                                                     suffered an injury distinct and separate from that suffered
In addition, Moore has not alleged that F.A. Investment
                                                                     by the Corporation or by all shareholders from any of
has looted the Corporation of all its assets as was the case
                                                                     Defendant's alleged conduct and therefore lacks standing
in both Yanow and Leblanc.
                                                                     to bring a claim for breach of fiduciary duty directly.
                                                                     In addition, Moore cannot bring a claim for breach of
Moreover, the Court does not find the Leblanc court's
                                                                     fiduciary duty in connection with conduct that is unrelated
conclusion that the plaintiff can maintain a direct claim
                                                                     to his status as minority shareholder. As discussed above,
on the basis of his allegation that he was ousted
                                                                     Moore cannot maintain a direct claim for breach of
from management persuasive in light of the Connecticut
                                                                     fiduciary duty for conduct related to his status as an
Supreme Court's decision in Fink. In Fink, the plaintiff
                                                                     employee or as a director of the Corporation. Moore
alleged that the defendant had conspired to drive the
                                                                     has further indicated that he does not intend to seek
plaintiff out of the medical practice and prevented him
                                                                     leave to amend his complaint to bring a derivative action.
from returning to the practice. The Connecticut Supreme
                                                                     Accordingly, the Court grants Defendant's motion for
Court concluded that the defendant had violated a duty
                                                                     summary judgment.
to the corporation when he “allegedly prevented plaintiff
from participating in the business of the corporation”
among other conduct and therefore had appropriately                  Conclusion
brought a derivative action. 238 Conn. at 201–202, 680               Based upon the above reasoning, the Defendant's [Dkt.
A.2d 1243. As was the case in Fink, Moore has alleged                # 31] motion for summary judgment is GRANTED. The
that F.A. Investment through Samman has conspired to                 Clerk is directed to enter judgment in favor of Defendant
drive him out of Corporation's business by terminating               and close the file.
his employment and removing him as a director from
the Board. However, as the Fink Court concluded these                IT IS SO ORDERED.
allegations state a claim that F.A. Investment had violated
a duty it owed to the Corporation and not to Moore as
a minority shareholder. In addition, the Leblanc court's             All Citations
analysis is not persuasive as the Leblanc court appears
to assume without considering whether the majority                   Not Reported in F.Supp.2d, 2012 WL 711473


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